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UNlT|ZD STATES DlSTR|CT COURT
W[~`,STERN DlSTRlCT OF TEXAS
EL PASO DIVISION

GRAC|EL,A GA|,J|NDO; JIZSUS
GALINDO. SR,', ED|'I`H GAL!ND(),
|ndividua||y and as Next Friend ot`
MAR(}AR|T/\ GAL|NDO, and as
Representative ofthe ES"I`A'I`E Ol"
JESUS MANUEI, GAL|NDO; ERICA
I.(.)ZANO, as Next Friend of
JOHNATHAN GAL|N[)O and JACOB
GAL!NDO; and JANNETTE FLORES
ES'I`RADA, as Ne)<t l"riend ot` |.-l`~lSLlE
[£S'I`RADA,

P|aintiffs,
v. No. EP-|O-CA-454~DB-NJG
REEVES COUNTY, TEXAS; THE GEO
GROUP, lNC.; Pl{YSlCl/\NS NETWORK
ASSOCl/\'l`lON; and in their Individua|
Capacilics: VERNON FARTH|NG, M.D.;
WAL'I`ER BRADY. D.O.; RlC}~{ARD
FE/»‘\RS, P.A.; JAMES FITCH; LOU ANN
Ml|.¢I,S/~\P, R,N.; FNU BULI.,OCI\';
Wardcn DW!GHT S|MS; Capt` CHAD
D[€\/|\/`G; |-T. KENNE'l`H MARTIN;
JAMIf-LS BURRELL, Fedcra| lSureau of
Prisons (_BOP) Privatization Management
l?>ranch Administrator; MATTHEW NACE,
C|iiei`, BOP Acquisitions Hranch;
EDUARDO l')E JESUS, M.D,, BOP
Medical Auditor; and DONNA GRUBE.
BOP Contracting Off`lccr,

Defendanls.

()BJECTIONS OF DEFENDANTS PHYSIC!ANS NETWORK ASS()ClATI()N,
VERNON FAR'I`HING, M.D., RICHARD FEARS. P.A., JAMES FITCH, AND
L()U ANN MILLSAP, R.N.'S 'I`O PLAINTIFFS’ DOCUMENT REOUESTS
Come now Physicians Network Association, Vernon Farthing, M.D., Richard Fears, P.A., James

Fitch, and L0u Ann Mil|sap, R.N., defendants herein, and respectfully submit the following objections to

laintiffs' first set Ofdocumcnt re uests.
P q

EXH|B|T

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Respectfu||y submitted,

MOUNCE, GREEN, MYERS,
SAFI, PAXSON & GALATZAN
A Prot`essional Corporation

P.O. Drawer 1977

E| Paso, 'I`exas 79950~1977

(915) 532~2000

FAX (9|5) 54|-1526

By:

 

H. Keith Myers l

State Bar #14760400

Attorneys for Defendants PNA, Farthing,
Fears, Fitch & Mi||sap

CF.R'I`IFICA'I`E OF SERVICE

l hereby certify that a true and correct copy of the foregoing was served on this 2|" ofjuly, 201 l
by facsimile transmission to Ms. Cara /\. l'lendrickson, Attorney for Plaintifis, 70 W. Madison Street,
Suite 400(), Chicago, l||inois 60602; by hand delivery, return receipt requestcd, to Mr. Leon Schydlower
and l\/lr. Migue| Ang,e| Torres, Attorneys for P|aintiffs, 2|0 N. Campbe|| Street, El Paso, Texas 79901; by
hand delivery to Mr, Richard Bonner, Attorney for Defendant Reeves County 'l`exas, 22| N. Kansas,
Suite 1700, E| l’aso, Te,\'as 7990|; by mail to Ms. Lisa Graybil|, ACLU Foundation oi"l`exas, P. O. Box
12905, Austin, 'I`X 787| I-2905; by mail to Mr. Eduardo R. Casti|lo, Assistant United States Attomeys,
700 li;. San Antonio, Suite 2()0, E| Paso, '[`exas 79901; by mail to Mr. Denis Dennis, Attomey for
Defendant GEO Group, P. O Box |3| l, Odessa Texas 79760; and by mail to Ms. Cynthia L|amas,
Attorncys for Def`enclant Brady, |24 W Castc||an Drive, Suite lOO, E| Paso Texas 79912

 

l’i.l(eith Myers

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'l`hese defendants object to definition |, to the extent it seeks to impose obligations on persons
who are not parties to the litigation, exceeds the scope of discovery set forth in f"ed, R. Civ. P.
26(b)( | ), and local rule CV~Eo(b)(S), and/or seeks to violate the attorney-client and/or
investigative work product and trial preparation privileges afforded under Fed. R. Civ. P.
26(b)(3) and Fed. R. Evid. 501 and/or 502.

T|iese defendants object to definition 2, to the extent it seeks to impose obligations on persons
who are not parties to the litigation, exceeds the scope ofdiscovery set forth in Fed. R. Civ. P.
26(b)( | )` and local rule C,`V~26(b)(5), and/or seeks to violate the attorney~client and/or
investigative, work product and trial preparation privileges afforded under Fed. R. Civ. P.
26(1))(3) and Fed. R. Evid. 501 and/or 502.

'I`liese defendants object to definition 4 to the extent it seeks to exceed the scope of discovery set
forth in liedv R. Civ. P. 26(b)(l} and local rule CV-26(b)(7).

These defendants object to definition 5 to the extent it seeks to exceed the scope of discovery set
foitli in lied R. Civ. P. 2()(b)(1) and local rule CV-26(b)(l).

lNS'l`RUC'l`lONS

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'I`|iese defendants object to instruction 1 to the extent it seeks to impose obligations to produce
documents generated subsequent to tlie events giving rising to this lawsuit as irrelevant, not
reasonably calculated to lead to the discovery of admissible evidence, pertinent to subsequent
remedial measures under Fed, R. Evid. 407, and/or an impermissible fishing expedition Suc|i
instruction may also be construed to seek documents privileged as work product, attorney»client
communications and/or trial preparation materials under Fed. R. Civ. P. 26(b)(3), Fed. R. Evid.
50| and/or 502.

'l`liese defendants object to instruction 4, which seeks to impose greater obligations than those set
forth in Fed. R. Civ. P. 34(21)( l).

T|iese defendants object to instruction 8 to the extent it seeks to impose greater obligations than
those set forth in Fed. R. Civ. P. 34(b)(2).

'1`hese defendants object to instruction 9, which seeks to impose greater obligations than those set
forth in Fed. R. Civv P. 34(a)(|).

These defendants object to instruction 10, which seeks to impose greater obligations than those
set forth in Fed. R. Civ. P. 26(b)(5).

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Request 3 provides as follows: All documents related to (tliat either support or undermine) any of
any Dcfendant's affirmative defenses.

Objections: Tlic request is overly broad, unduly vague and ambiguous; fails to comply with the
particularity requirements of Fed. R. Civ, P‘ 34(b)(1)(A); would include documents privileged as
work product, trial preparation materials and/or attorney-client communications under Fed. R.
Civ. P. 26(b)(3), Fed. R. Evid. 50| and/or 502; and constitutes an impermissible fishing
expedition.

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Request 6 provides as follows: A|| non-privileged documents provided to, received from,
reviewed consulted or created by, or relied upon in connection with this matter by any expert or
opinion witness that Defendants may call at any hearing or trial in this case. This Request
includes, without |imitation, notes, memoranda, engagement letters and any communications (l)
regarding the compensation for the expert’s study or testimony; (2) that identify facts or data that
Defendants' counsel provided and that the expert considered in forming the opinions to be
expressed; or (3) that identify assumptions that Defendants’ counsel provided and that the expert
relied on in forming the opinions to be expressed

()bjectlons: 'l`hc request seeks to impose greater obligations on expert disclosures than those set
forth in Fed. R. Civ. P. 26(a)(2)(13), and to circumvent the time frame for disclosure ofexpeit
testimony imposed by Fed. R. Civ. P. 26(a)(2)(D).

Request 7 provides as follows: A copy ofthe resume or curriculum vitae for every expert or
opinion witness that you may call to testify at any hearing or trial in this case.

Objectinns: Tlie request seeks to circumvent the time frame for disclosure of expert testimony
under Fed. R. Civ. P. 26(a)(2)(D).

Request 9 provides as follo\vs: Any and all documents relating or referring to Ga|indo or any of
the plaintiffs in this matter.

()bjectioiis: Tlie request is overly broad, unduly vague and ambiguous; fails to comply with the
particularity requirements of Fed. R. Civ. F. 34(b)(1)(A); would include documents privileged as
work product, trial preparation materials and/or attorney-client communications under Fed. R.
Civ. P. 26(b)(3)_ Fed. R. Evid. 501 and/or 502; and constitutes an impermissible fishing
expedition.

Request 10 provides as follows: Any and all documents that refer to or relate to any investigation
conducted or authorized regarding Galindo, including any investigation regarding the conduct of
any Defendant.

Objections: The request is overly broad, unduly vague and ambiguous; fails to comply with the
particularity requirements of Fed, R. Civ. P. 34(b)(1)(A); would include documents privileged as
peer review and/or medical committee matters under federal and/or state law, including Tex.
Hea|th & Safety code §10| .053 and or § 160.007, and/or 42 U.S.C. § 299b-22, and/or work
product, trial preparation materials and/or attorney-client communications under Fed. R. Civ. P.
26(b)(3), Fed. R. Evid. 50| and/or 502; and constitutes an impermissible fishing expedition.

Request | 1 provides as follows: Any and all documents relating to medical care provided (or
denied) to Ga|indo, including his medical files, treatment plan, inmate intake screening, health
appraisal, nurse`s notes, and notification and documentation of off-site treatment.

Objections: Tlie request is overly broad, unduly vague and ambiguous; fails to comply with the
particularity requirements ofFed. R. Civ. P. 34(b)(1)(A); would include documents privileged as
peer review and/or medical committee matters under federal and/or state law, including Tex.
flealth & Safety Code § 101 .053 and or § 160.007, and/or 42 U.S.C. § 299b-22, and/or work
product, trial preparation materials and/or attorney-client communications under Fed. R. Civ. P.
26(b)(3), Fed, R, Evid. 501 and/or 502; and constitutes an impermissible fishing expedition.

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Request 13 provides as follows: Any document relating or referring to any communication by
(Jalindo or ot`any person with Ga|indo beginning in 2007. 'l`his Request includes any
correspondence, grievance, sick-ca11 request, cop-out, kite, or response as well as phone and mail
logs and audio tapes reflecting or recording communications

Ohjections: '1`he request is overly broad, unduly vague and ambiguous; fails to comply with the
particularity requirements of Fed. R. Civ. Pi 34(b)( l )(/\); would include documents privileged as
work product, trial preparation materials and/or attorney-client communications linder Fed, R.
Civ. P, 26(b)(3). ch. R. livid. 501 and/or 502; and constitutes an impermissible fishing
expedition.

Request 14 provides as follows: Any document containing, refiecting or referring to any
communications regarding Galindo. '1`his Request includes any electronic communications, any
notes or minutes of any meeting or conversation, any Uti|ization Review Committee reviews, and
any documents retiecting communications with any individual acting on Cia|indo’s beha|f.

()bjections: The request is overly broad, unduly vague and ambiguous; fails to comply with the
particularity requirements of Fed. R. Civ. 1". 34(b)( | )(A); would include documents privileged as
peer review and/or medical committee matters under federal and/or state law, including Tex.
l"{ea|th & Safcty Code §101.053 and or § 160.007, and/or 42 U.S.C. § 299b-22, and/or work
product, trial preparation materials and/or attorney-client communications under Fed. R. Civ. P.
2()(b)(3), tied R. livid. 501 and/or 502; and constitutes an impermissible fishing expedition.

Request l‘) provides as follows: /\ny and all reports, summary, analyses, or autopsies regarding
the manner or cause ofdcath of Ga|indo, and any documents reflecting, referring to, or containing
communications regarding the same,

()l)jectinns: The request is overly broad, unduly vague and ambiguous; fails to comply with the
particularity requirements of Fed. R. Civ. 1’. 34(b)( l )(A); would include documents privileged as
peer review and/or medical committee matters under federal and/or state |aw, inc1uding Tex.
llea|th & Safety Code §101.053 and or § 160.007, and/or 42 U.S.C. § 299b-22, and/or work
product, trial preparation materials and/or attorney-client communications under Fed. R. Civ. P.
26(b)(3),13`ed. R. Evid. 501 and/or 502; and constitutes an impermissible fishing expedition.

Request 21 provides as follows: Any and all personnel tiles, grievance files, disciplinary files,
supervisor, or other side tiles, 13in files or other investigatory files that relate to any of the
individual Defendants

()bjections: The request is overly broad; not reasonably related in terms oftime or factual
circumstance to issues to be determined in this case; invasive of personal and privacy rights; and
an impermissible fishing expedition.

Request 24 provides as follows; /\ny and all documents that are,(l) related to any proceeding
against any ofthe Defendants whether administrative, civi|, or criminal that was commenced
within ten years ofthe filing ofthe Complaint in this matter and that was based upon allegations
of false statements or falsifications of any kind, medical malpractice or negligence claims or any
other claims based on allegations of deficient medical care, assault and battery, violation ofthe
Eighth, Fourth, or Fourteenth amendments to the U.S. Constitution, or ofa policy and practice
and custom of imposing dangerous or hazardous conditions on prisoners, and that (2) reflect the
claims asserted, the forum and status ofthe proceeding, and the disposition ofthe proceeding

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ijcctions: ’l`he request is overly broad, unduly vague and ambiguous; irrelevant and not reasonably

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calculated to lead to the discovery of admissible evidence; not reasonably related in terms oftime
or factual issues to this case; an impermissible fishing expedition; inclusive of documents that
would be privileged as work product and/or as attorney-client communications under Fed. R. Civ.
Pr 50| and/or 502.

Request 27 provides as follows: All materials, including manuals, policies, rules, regulations,
protocols, instructions, circulars, practices, principles, procedures, requirements, standards,
operational plans, post orders, memoranda and other advisory or guidance materials or
communications by the Defendants related to disciplinary segregation of inmates, disciplinary
housing, assignment to and removal from the SilU, monitoring inmates held in the Sl'lU, medical
care provided to inmates in the SHU, and observation of inmates requiring medical observation in
the Sl'lU at RCDC lll from 2007 to the present

()l)jections: /l"he request seeks to impose obligations to produce documents generated
subsequent to the events giving rising to this lawsuit that would be irrelevant, not reasonably
calculated to lead to the discovery of admissible evidence, pertinent to subsequent remedial
measures under Fed, R. Evidr 407, and/or an impermissible fishing expedition Such request may
also be construed to seek documents privileged as work product, attomey-client communications
and/or trial preparation materials under Fed. R. Civ. P. 26(b)(3), Fed. R,. Evid. 501 and/or 502.

Request 28 provides as follows: All materials, including manuals, policies, rules, regulations,
protocols, instructions, circulars, practices, principles, procedures, requirements standards,
operational plans, post orders, memoranda and other advisory or guidance materials or
communications by the Defendants related to the provision of health care to inmates, including
the means of evaluating or assessing inmates for health problems; the treatment of inmates in
need of medical observation, observation care, or observation beds; the provision of prescription
drug medication to inmates; provision of dental care; procedures for chronic or acute care,
including hospitalization and after»hours care; conducting laboratory tests and processing and
reporting results; determination of which prescription medication will be prescribed to inmates;
the movement of inmates from observation to a community hospital or other off~site medical
services provider; and any emergency transfer plans at RCDC lll from 2007 to the present The
Request also includes a copy of the Policy and Procedure (or Practice) Manual, Treatment or
Patient Care Protocols, Standard Operating Procedures and BOP Clinical Practice Guidelines
related to health care provision at RCDC lll.

()bjections: The request seeks to impose obligations to produce documents generated
subsequent to the events giving rising to this lawsuit that would be irrelevant, not reasonably
calculated to lead to the discovery of admissible evidence, pertinent to subsequent remedial
measures under Fed. R. Evid. 407` and/or an impermissible fishing expedition. Moreover, the
reference to "communications by the Defendants" may be construed to include matters privileged
as work product, trial preparation materials and/or attorney-client communications under Fed. R.
Civ. P, 26(b)(3), Fed. R. Evid. 501 and/or 502.

Reques129 provides as follows; All materials, including manuals, policies, rules, regulations,
protocols, instructions, circulars, practices, principles, procedures, requirements, standards,
operational plans, post orders, memoranda and other advisory or guidance materials or
communications by the Defendants related to the filing, processing, or review of medical
grievances received from inmates, including procedures for responding to formal or informal
reports of medical grievances at RCDC IlI from 2007 to the present.

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Objections: 'l`he request seeks to impose obligations to produce documents generated subsequent to the

events giving rising to this lawsuit that would be irrelevant, not reasonably calculated to lead to
the discovery of admissible evidence, pertinent to subsequent remedial measures under Fed. R.
Evid. 407, and/or an impermissible fishing expedition. Moreover, the reference to
"communications by the Defendants" may be construed to include matters privileged as work
product, trial preparation materials and/or attorney-client communications under Fed. R. Civ. P.
26(b)(3), Fed. R. Evid. 50| and/or 502.

Request 30 provides as follows: All materials, including manuals, policies, rules, regulations
protocols, instructions, circulars, practices, principles, procedures, requirements, standards,
operational plans, post orders, memoranda and other advisory or guidance materials or
communications by the Defendants related to staffing of medical personnel at RCDC lll from
2007 to the present

Objections: The request seeks to impose obligations to produce documents generated
subsequent to the events giving rising to this lawsuit that would be irrelevant, not reasonably
calculated to lead to the discovery of admissible evidence, pertinent to subsequent remedial
measures under Fed. R. Evid. 407, and/or an impermissible fishing expedition Moreover, the
reference to "conimunications by the Defendants" may be construed to include matters privileged
as work product, trial preparation materials and/or attorney~client communications under Fed. R.
Civ. P. 26(b)(3), Fed. R. Evid. 50| and/or 502.

Request 3| provides as follows; Any and all documents regarding the occurrence and
circumstances of each death of an RCDC inmate from 2006 to the present, regardless of the
inmate`s physical location at the time of death and the actual or suspected cause ofdeath. ln this
Request, the term “`RCDC inmate” includes persons who were RCDC I, Il, or llI inmates at the
time oftlieir death, or who died at a health care facility or other 130P facility following transfer
for medical treatment from RCDC. This Request includes any and all documents pertaining to the
cause ofdeath, reports of investigations into the circumstances surrounding the death, any
requests for medical help by anyone regarding the inmate, the inmate death report submitted to
BOP or Reeves County, the morality rcview, any Coroner’s report or autopsy, and
correspondence to or from BOP or any Defendant or the deceased inmate’s family members

Objections: The request is overly broad, unduly vague and ambiguous; not reasonably related in
terms oftime or factual issues to this litigation; an impermissible fishing expedition; fails to
comply with the particularity requirements ofFed. R. Civ. P. 34(b)( l )(A); may be construed to
include documents privileged as peer review or medical committee matters under applicable
federal or state law, including Tex. Health & Safety Code § 161.032, Tex. Occ. Code§ l01.053
and/or § l60.007, and/or 42 U.StC. § 299b-22.

Request 34 provides as follows: Any and all documents, notes or memoranda regarding the
procedures to be used for medical assessment or medical screening procedures for new inmates.

()bjections: Tlie request seeks to impose obligations to produce documents generated
subsequent to the events giving rising to this lawsuit that would be irrelevant, not reasonably
calculated to lead to the discovery of admissible evidence, pertinent to subsequent remedial
measures under Fed. R. Evid. 407, and/or an impermissible fishing expedition. Such request may
also be construed to seek documents privileged as work product, attorney-client communications
and/or trial preparation materials under Fed. R. Civ. P. 26(b)(3), Fed. R. Evid. 501 and/or 502.

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Request 35 provides as follows: l)ocuineiits stating, describing, or evidencing credentials of
medical staff at RCDC lll from 2007 to the present, including educational, professional, and
licensing information

Objections: 'I`he request would include documents generated subsequent to the events giving
rising to this lawsuit that would be irrelevant, not reasonably calculated to lead to the discovery of
admissible evidence, and/or an impermissible fishing expedition

Request 36 provides as follows‘. Any and all reports, summaries, or other compilations ot`data
regarding the number of inmates who received medical services offsite at a community hospital
or other medical services provider from 2007 to the present.

()bjections: The request would include documents generated subsequent to the events giving
rising to this lawsuit that would be irrelevant, not reasonably calculated to lead to the discovery of
admissible evidence, and/or an impermissible fishing expedition

Request 37 provides as follows: /\ny and all records or documents retiecting the identity ofthe
inmates in need ol` medical care or observation who were assigned to the SHU, including copies
of any grievances or requests for medical assistance filed by or on behalf of such inmates from
2007 to the present along with any corresponding responses, logs or other documentation ofthose
requests for medical assistance

Objections: 'fhe request is overly broad, unduly vague and fails to comply with the particularity
requirements of Fed. R. Civ. P. 34(b)(|)(A); may include documents privileged under Fed. R.
Evid. 50|. incorporating 'l`ex. Rt Evid. 509 and 5 l 0; invasive of the personal and privacy rights of
individuals who have not provided authorization for release of such information; may violate
l~llP/\A disclosure restrictions and/or 42 U.S.C. § 299b-22', an impermissible fishing expedition;
records generated subsequent to the events giving rising to this litigation would be irrelevant and
not reasonably calculated to lead to the discovery of admissible evidence.

Request 38 provides as follows: Aiiy and all reports, summaries, memoranda, or other
compilations ofdata, whether formal or informal, regarding grievances and inmate complaints
relating to tlie provision of medical care from 2007 to the present at RCDC lll.

Objection: The request may be construed to include documents privileged as trade secrets under
Fed. R. Evid. 50|, incorporating Tex. R. Evid. 507; irrelevant and not reasonably calculated to
lead to the discovery of admissible evidence, and an impermissible fishing expedition.

Request 39 provides as follows: Any and all documents used in connection with training of
RCDC staff, including providers of medical scrvices, COncerning disciplinary segregation of
inmates, disciplinary housing, assignment to and removal from the SHU, monitoring inmates held
in tlie SHU, medical care provided to inmates in the SHU, observation of inmates requiring
medical observation in the SHU, and tlie provision of medical care to inmates.

Objections: Tlie request may be construed to include documents privileged as trade secrets
under Fed. R. Evid. 501, incorporating Tex. R. Evid. 507; responsive documents generated
subsequent to the events giving rising to this lawsuit would be irrelevant and not reasonably
calculated to lead to the discovery of admissible evidence, and may be construed as subsequent
remedial measures under Fed. R. Evid. 407.

Request 40 provides as follows: A copy ofthe formulary list for pharmaceuticals available at
RCDC lll from 2007 to the present.

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Uhjections: The request may be construed to include documents privileged as trade secrets
under ch. R, Evid. 50l, incorporating Tex. R. Evid. 5()7; responsive documents generated
subsequent to the events giving rising to this lawsuit would be irrelevant and not reasonably
calculated to lead to the discovery of admissible evidencc, and may be construed as subsequent
remedial measures under Fed. R. Evid. 407.

Request 4| provides as l`ollows: Any and all documents and communications reflecting policies,
procedures, protocols relating to the administration of pharmacy services, whether activities
related to said services are conducted at RCDC or elsewhere, including thc Pliarmacy Technical
Ret`erence Manua|, the pharmacy policy manual, any policies, procedures, or protocols used for
obtaining non~formulary medication, administering and distributing medication, or related to
Medica| Administration Records.

()bjection: 'I`he request may be construed to include documents privileged as trade secrets under
l~`ed. R. Evid. 501. incorporating lex. R. Evid. 507; responsive documents generated subsequent
to the events giving rising to this lawsuit would be irrelevant and not reasonably calculated to
lead to the discovery of admissible evidence, and may be construed as subsequent remedial
measures under Fed. R, Evid. 407.

Request 42 provides as follows: Any and all documents and communications reflecting policies,
procedures, or protocols used for allowing “keep on person” medications in the treatment of
RCDC inmates.

Objections: "l`he request may be construed to include documents privileged as trade secrets
under Fed, R. Evid. 50|, incorporating 'l`ex. R. Evid. 507; responsive documents generated
subsequent to the events giving rising to this lawsuit would be irrelevant and not reasonably
calculated to lead to the discovery of admissible evidence, and may be construed as Subsequent
remedial measures under Fed. R. Evid. 407.

Request 43 provides as follows: Copies ofthe chronic disease log and referral log book at RCDC
lll from 2007 to thc presentl

Objections: Responsive documents generated subsequent to the events giving rising to this
lawsuit would be irrelevant and not reasonany calculated to lead to the discovery of admissible
evidence, and may be construed as subsequent remedial measures under Fed. R. Evid. 407, The
requested would include information personal and private to individuals who have not authorized
the release thereof, thus violative ot`Fed. R. Evid. 50l,incorporating Tex. R. Evid. 509 & 5|0,
HlPAA disclosure restrictions and/or 42 U.S.C. § 299b-22.

Request 44 provides as follows: Copies ofthe SHU Admission logs, Temporary Placement in
Disciplinary Segregation Order reports, Segregation Revicw forms, Medical Observation
Admission logs, and any other segregation or observation logs, including logs that reflect staff
movements in and out ofthe SHU, from December 20, 2007, to December 22, 2008.

()bjections: The request may be construed to include documents privileged as trade secrets
under Fed, R. Evid. 50|, incorporating Tex. R. Evid. 507; responsive documents generated
subsequent to the events giving rising to this lawsuit would be irrelevant and not reasonably
calculated to lead to the discovery of admissible evidence, and may be construed as subsequent
remedial measures under Fed. R. Evid. 407. 'l`he request would include information personal and
private to individuals who have not authorized the release thereof, thus violative of Fed. R. Evid.
50|, incorporating 'l`ex. R. Evid. 509 & 5 IO, HlPAA disclosure restrictions and/or 42 U.S.C. §

299b~22.

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Request 45 provides as follows: 45. Any and all documents regarding assignment of inmates in
the SllU facilities at RCDC l, RCDC ll, and RCDC lll, including the nature and custody status of
the population confined in the SHU facilities, the average duration oftheir confinement. and
access to medical services in the SHU, and documents reflecting assignment ofinmates to SHU
for medical purposes from 2007 to the present.

()bjectir)ns: Tlic request may be construed to include documents privileged as trade secrets
under Fed. R. Evid. 50|` incorporating 'fex. R. Evid, 507; responsive documents generated
subsequent to the events giving rising to this lawsuit would be irrelevant and not reasonably
calculated to lead to the discovery ofadmissible evidence, and may be construed as subsequent
remedial measures under Fed. R. Evid. 407. May include information personal and private to
individuals who have not authorized the release thereof, thus violative of Fed, R. Evid. 501,
incorporating Tex. R. Evid. 509 & 5|0. and federal confidentiality requirements under l~{IPAA
and/or 42 U.S.C. § 299b~22`

Request 50 provides as follows: Copies ofthe schedules for: sick ca|l, physician ca|l, and the
chronic clinic.

()l)jections: 'fhe request is overly broad, unduly vague and arnbiguous, and does not specify any
time frame pertinent to the issues involved in this litigation.

Requcst 52 provides as follows: Documents stating, describing, or evidencing the number and
type ofcorrectional officer and medical provider positions allotted for and actually filled in
RC[)C lll front 2007 to the present, including any staffing plans and any documents reflecting the
number of person~ hours (or similar rnetrics) worked by correctional officer and medical care
providers

()bjections: Responsive documents generated subsequent to the events giving rising to this
litigation would be irrelevant and not reasonably calculated to lead to the discovery of admissible
evidence', the request may include information privileged as trade secrets under Fed. R. Evid. 50|,
incorporating Tex. R. Evid. 507.

Request 55 provides as follows: /\ny and all documents related to the solicitation, evaluation,
issuance, or renewal of`contracts between Reeves County and GEO or PNA, including all records
relating to: any initial off`ers, revisions to the offer, the final offer, all successful and unsuccessful
bids, any amended proposals, any past performance records, technical proposal records, bid
evaluation records, documents indicating the criteria to be used in making a final selection, and
minutes and audio recordings of Commissioner’s Court.

Objections: 'fhe request is overly broadly, unduly vague and ambiguous, irrelevant and not
reasonably calculated to lead to the discovery of admissible evidence, and an impermissible
fishing expedition.

Request 56 provides as f'ol|ows; Any and all documents related to or otherwise indicating
remedial or corrective actions requested or required by BOP of Reeves County, GEO, or PNA,
including warnings, notifications, or other communication from BOP or its agents advising of
unsatisfactory conditions or non'compliance services, materials related to procedures for
requiring remedial steps, plans of action, and any response, investigation, or conclusion from
BOP following such actions.

6941~\25/KMYE/l057530 Page 10

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Objectinns: 'l`he request is overly broadly, unduly vague and ambiguous, irrelevant and not
reasonably calculated to lead to the discovery ofadmissible evidence, and an impermissible
fishing expedition Not reasonably related in terms oftime or factual circumstance to any issue to
be determined in this litigation

 

Request 57 provides as follows: Documents relating to reviews, audits, examinations,
inspections or evaluations conducted by the Departrnent ofJustice, the Depaitment of Homeland
Security, the Offrce ofthe lnspector General, or any other governmental entity, including
regulatory agencies, or by independent monitoring or evaluating entities, including JCAHO, the
Conunission of Accreditation for Corrections, or any other nongovernmental entity. This
Request includes findings, reports, memos, correspondence, audits, surveys, working papers,
meeting minutes, and other documents generated by the entity conducting the inspection as well
as responses regarding the findings

Objections: 'l`he request is overly broadly, unduly vague and ambiguous, irrelevant and not
reasonably calculated to lead to the discovery of admissible evidence, and an impermissible
fishing expedition Not reasonably related in terms oftime or factual circumstance to any issue to
be determined in this litigation. Violates confidentiality requirements applicable to any such
documents

Request 58 provides as follows: Any and all documents relating to reports, audits, assessments,
reviews, examinations, inspections, or evaluations prepared by or for Reeves County, GEO, or
PNA regarding the provision of medical care, staffing, pharmacy services or segregated housing
units at RCDC lll, including the composition and title ofthe auditing team, their working papers,
and meetings rninutes.

()l)jections: 'l`he request is overly broadly, unduly vague and ambiguous, irrelevant and not
reasonably calculated to lead to the discovery of admissible evidence, and an impermissible
fishing expedition Not reasonably related in terms oftime or factual circumstance to any issue to
be determined in this litigation Violates confidentiality requirements applicable to any such
documents

Request 6l provides as follows: Any and all documents related to or otherwise indicating
remedial or corrective actions requested or required by Reeves County ofGEO or PNA, including
warnings, notifications, or other communication from Reeves County or its agents advising of
unsatisfactory conditions or non-compliance services, materials related to procedures for
requiring remedial steps, plans of action, and any response, investigation, or conclusion from
Reeves County following such actions.

Objections: 'i`he request is overly broadly, unduly vague and ambiguous, irrelevant and not
reasonably calculated to lead to the discovery of admissible evidence, and an impermissible
fishing expedition Not reasonably related in terms oftime or factual circumstance to any issue to
be determined in this litigation

Request 62 provides as follows: Any and all memoranda, letters, notes, email messages, meeting
minutes or summaries, correspondence, and all other documents referring or relating to the
quality, adequacy, or timeliness or health care provided at RCDC llI, including all criticisms,
critiques, or identification of deficiencies in the provision of medical care at RCDC lII, from
2007 to the present.

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()bjeetions: 'l`he request is overly broad|y, unduly vague and ambiguous irrelevant and not
reasonably calculated to lead to the discovery of admissible evidence, and an impermissible
fishing expedition Not reasonably related in terms oftime or factual circumstance to any issue to
be determined in this litigation May be continued to include documents privileged as peer
review and/or medical committee matters under applicable state or federal law, including 'l`ex.
Health & Safety Code§ 161.032. Tex. Occ. Code §l()l.053 and/or§ l60.007, and/or 421),8.€. §
2991)»22.

chuest 63 provides as follows: All minutes of meetings of RCDC lli medical care providers,
and any other meetings at which the medical status of inmates is discussed, including medical
staff meetings, housing unit meetings, infirmary staffmeetings, and wardens’ or deputy wardens`
meetings, and meetings of any group, committee, or other body that determines whether or when
a RCDC lll inmate will receive out-of~institution medical care or consultation or treatment from
2007 to the present.

Objections: 'fhe request is overly broadly, unduly vague and ambiguous, irrelevant and not
reasonably calculated to lead to the discovery ofadmissible evidenee, and an impemiissible
fishing expedition Not reasonably related in terms oftime or factual circumstance to any issue to
be determined in this litigation 'fhe request may be construed to include matters privileged as
peer review or medical committee matters under applicable state or federal law., including Tex.
l~iealth & Safety Code§ l6l.()32. 'fex. Occ. Code §lOl .053 and/or § l60.007, and/or 42 U,S.C. §
299l)-22, and may violate the personal and privacy rights of individuals who are not parties to this
litigation and have not provided authorization for release thereofin violation of Fed. R. Evid.
50|, incorporating Tex. R. Evid. 509 & 5l0, and/or HIPAA disclosure restrictions

Request 65 provides as follows: /\ny and all documents describing quality measurement systems
for health care services and clinical care quality and performance improvement programs used by
any l)efendant.

()bjections: The request is overly broad, unduly vague and ambiguous; may be construed to
include documents privileged as trade secrets under Fed. R. Evid. 50l, incorporating Tex. R.
Evid, 507; fails to comply with the particularity requirements of Fed. R. Civ. P.26(b)(l)(A).

Page lZ

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UNITED STATES DISTRICT COURT
WESTERN DlSTRlCT O[~` 'I`EXAS
EL PASO DlVlSlON

GRAC|ELA GAL|NDO; JESUS
GAL|NDO, SR.; El)l'l`i~l GALINDO,
lndividually and as Next Friend of
MARGARITA GAL|NDO, and as
Represcntative ofthe ESTATE OF
JESUS MANUEL GAL|NDO; ER|CA
LOZAN(), as Next Friend of
J()HNA'I`HAN GAL|NDO and JAC()B
GAlslNDO; and JANNE'I`TE FLORES
ESTRADA, as Ne.\'t Friend of LESLIE
[iSTRAD/\t

Plaintiffs,
v. No. EP~|O»CA‘¢lSA~DB-NJG
REEVES COUNTY, TEXAS; THE GE()
GROUP, lNC.; PHYSICIANS NETWORK
/\SSOCIATION; and in their lndividual
Capacities; VERNON FAR'I`I"'IING, M.D.;
WALTER, BRA[)Y, D.O.; RlCllARD
l"ifiARS, P.A.; JAMES FITCH; LOU ANN
I\/tlLLS/XP7 R.N.; FNU BULLOCK;
Warden DWIGHT SIMS; Capt. CHAD
Dl;`\/IVO; L'l`. KENNETH MARTIN;
JAMES BURRELL, Federal Bureau of
Prisons (BOP) Privatization Management
Bi'anch Administrator; MATTHEW NACE,
Chief, BOP Acquisitions Branch;
EDUARDO DE JESUS, M.D., BOP
Medical Auditor; and DONNA GRUBE,
BOP Contracting Off`icer,

Defendants

SUPPLEMENTAL OB.lECTlONS ()F DEFENDANTS PHYSICIANS NETWORK
ASS()CIATI()N, VERNON FARTHING, M.D., RICHARD FEARS, P.A., JAMES FITCH, AND
LOU ANN IVIILLSAP1 R.N. TO PLAlNTIFFS' D()CUMENT REOUESTS

Come now Physicians Network Association, Vernon Farthing, M.D., Richard Fears, P.A., James
l"itch, and Lou Ann Millsap, R.N., defendants herein, and respectfully submit the following supplemental

objections to plaintiffs' first set ot`document requests, in addition to and incorporating herein their

objections submitted July 2 l, 20| l.

EXH|B|T

esti-izs/KMvE/iosazsz Page l

§ §§ 7/97'

' 0

Respectfully submitted,

MOUNCE, }REEN, MYERS,
SAFI, PAXS()N & GALATZAN
A Professional Corporation

P.O. l)rawer l977

E| Paso, Texas 79950~|977

(9|5) 532-2000

FAX (9l5) 541-l526

th)tQNt/»w

H Keith Myers

State Bar # l 476040()

At'torneys t`or Defendants PNA, Farthing,
Fears, Fitch & Millsap

CER'I`IF!CATE OF SERVICE

l hereby certify that a true and correct copy of the foregoing was served on this 27th ofluly,
20l l by facsimile transmission to Ms Cara A Hendricl<son Attorney for P|aintiffs 70 W. Madison
Street, Suite 4()00, Chicago, illinois 60602; by hand delivery, return receipt requested, to Mr. Leon
Schydlower and Mr. Miguel Angel Torres, Attorneys for Plaintiffs, 210 N. Campbcll Street, El Paso,
"l`e)<as 79‘)0 l; by hand delivery to Mr. Richard Bonner, Attorney for Defendant Reeves County Texas,
22| N. Kansas, Suite 1700, El l’aso, Texas 7990|; by mail to Ms, Lisa Graybill, ACLU Foundation Of
Texas, P. O. Box l29()5, Austin, 'I`X 787| l-2905; by mail to Mr. Eduardo R. Castillo, Assistant United
States /\ttorneys7 700 E San Antonio, Suite 200. El Paso` Texas 79901; by mail to Mr. Denis Dennis,
Attorney for Del`endant GEO Group, P. O. Bo)c l3l l, Odessa, Texas 79760; and by mail to Ms. Cynthia
Llamas, Attorneys for Defendant Brady, l24 W. `astcllano Drive, S ' 100, El Paso, 'I`exas 799|2.

\I<. Keith Myers“ 0

   

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o.

Request 9 provides as follows: Any and all documents relating or referring to Galindo or any of
the plaintiffs in this matter,

Supplemental Objections: 'l`he request would include documents privileged as peer review
and/or medical committee matters under federal and/or state law, including Te)t. Health & Safety
Code§ 161 .032, 'l`ex. Occ. Code§ 101 .053 and/or§ 160.007, and/or 42 U.S.C. § 299b~22.

Request 10 provides as follows: Any and all documents that refer to or relate to any investigation
conducted or authorized regarding Galindo, including any investigation regarding the conduct of
any Defendant.

Supplemental Objections: '1`he request would include documents privileged as peer review
and/or medical committee matters under federal and/or state law, including 'I`ex. Health & Safety
Code § 161 .032, 'I`ex. Occ. Code§ 101.053 and/or 160.007, and/or 42 U.S.C. § 299b~22.

Request l l provides as follows: Any and all documents relating to medical care provided (or
denied) to Galindo, including his medical files, treatment plan, inmate intake screening, health
appraisal, nurse`s notes, and notification and documentation of off~site treatment.

Supplemental ()bjeetion: 'fhe request would include documents privileged as peer review
and/or medical committee matters under federal and/or state law, including Tex. Health & Safety
Code§ l6l .032. Tex. Occ, Code§ 10 l .053 and/or 160.007, and/or 42 U.S.C. § 299b-22.

Request 14 provides as follows: Any document containing, reflecting or referring to any
communications, regarding Galindo. This Request includes any electronic communications, any
notes or minutes of any meeting or conversation, any Utilization Review Committee reviews, and
any documents reflecting communications with any individual acting on Galindo’s behalf

Supplemental ()bjection: Thc request would include documents privileged as peer review
and/or medical committee matters under federal and/or state law, including Tex. Health & Safety
Code§ 161 .032, Tex. Occ. Code § 101.053 and/or 160.007, and/or 42 U.S.C. § 299b-22.

Request 19 provides as follows: Any and all reports, summary, analyses, or autopsies regarding
the manner or cause of`death of Galindo, and any documents reflecting, referring to, or containing
communications regarding the same.

Supplemental Objection; 'l`he request would include documents privileged as peer review
and/or medical committee matters under federal and/or state law, including Tex. Health & Safety
Code§ 161 .032, Tex. Occ. Codc § 101.053 and/or 160.007, and/Or 42 U.S.C. § 299b~22.

Request 24 provides as follows: Any and all documents that are (l) related to any proceeding
against any of the Defendants whether administrative, civil, or criminal that was commenced
within ten years ofthe filing ofthe Complaint in this matter and that Was based upon allegations
of false statements or falsifications of any kind, medical malpractice or negligence claims or any
other claims based on allegations of deficient medical care, assault and battery, violation ofthe
Eighth, 1~`otn'tlt, or Fourteenth amendments to the U.S. Constitution, or ofa policy and practice
and custom of imposing dangerous or hazardous conditions on prisoners, and that (2) reflect the
claims asserted, the forum and status ofthe proceeding, and the disposition ofthe proceeding.

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Supplemental ()bjections: Unduly burdensome and harassing; this request may be construed to
include documents from any number oflawsuits, whether or not related in any fashion to the
claims in this litigation many of which are or may be stored in offices and facilities in various
cities and states; and may also include documents subject to work product and/or attorney-client
privileges

Request 31 provides as follows: Any and all documents regarding the occurrence and
circumstances ofeach death of an RCDC inmate from 2006 to the present, regardless ofthe
inmate’s physical location at the time ot`death and the actual or suspected cause of death. ln this
Request, the term “‘RCDC inmate” includes persons who were RCDC l, ll, or lll inmates at the
time of their death, or who died at a health care facility or other 130P facility following transfer
for medical treatment from RCDC. 'l`his Request includes any and all documents pertaining to the
cause ofdeath, reports of investigations into the circumstances surrounding the death, any
requests for medical help by anyone regarding the inmate, the inmate death report submitted to
BOI’ or Reeves County, the morality rcview, any Coroner’s report or autopsy, and
correspondence to or from BOP or any Defendant or the deceased inmate’s family members

Supplemental Objections: 'l`he request may bc construed to seek protected health information
that is protected from disclosure under federal and state privacy requirements including HlPAA,
Texas patient privacy and privilege provisions, and/or 5 U.S.C. § 552a

Request 37 provides as follows: Any and all records or documents reflecting the identity ofthe
inmates in need of medical care or observation who were assigned to the SHU, including copies
of any grievances or requests for medical assistance filed by or on behalfof such inmates from
2007 to the present along with any corresponding responses, logs or other documentation of those
requests for medical assistance

Supplemental ()bjections: 'l`he request may be construed to seek protected health information
that is protected from disclosure under federal and state privacy requirements, including HlPAA,
Te);as patient privacy and privilege provisions and/or 5 U.S.C. § 552a.

Request 38 provides as follows: Any and all reports, summaries, memoranda, or other
compilations ofdata, whether formal or informal, regarding grievances and inmate complaints
relating to the provision of medical care from 2007 to the present at RCDC lll.

Supplcmental Objections: The request may be construed to seek protected health information
that is protected from disclosure under federal and state privacy requirements, including HIPAA,
Texas patient privacy and privilege provisions, and/or 5 U.S.C. § 552a; overly broad, unduly
vague, and fails to comply with the particularity requirements of Fed. R. Civ. P. 34(b)(l)(A).

Request 41 provides as follows: Any and all documents and communications reflecting policies,
procedures, protocols relating to the administration of pharmacy services, whether activities
related to said services are conducted at RCDC or elsewhere, including the Pharmacy Technical
Reference l\/lanua|, the pharmacy policy manual, any policies, procedures, or protocols used for
obtaining non-formulary medication, administering and distributing medication, or related to
Medical Administration Records.

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Supplemental Objections: Overly broad, not reasonably restricted in terms oftime or subject
matter or location to any issue to be determined in this litigation, thus not reasonably calculated to
lead to the discovery ofadmissible evidence, and an impermissible fishing expedition

Request 43 provides as follows: Copies of the chronic disease log and referral log book at RCDC
lll from 2007 to the present

Supplemcntal Objections: The request may be construed to seek protected health information
that is protected from disclosure under federal and state privacy requirements, including HIPAA,
Texas patient privacy and privilege provisions, and/or 5 U.S.C. § 552a

Request 44 provides as follows: Copies ofthe Sl»lU Admission logs, Temporary Placement in
Disciplinary Segregation Order reports, chregation Review forms, Medical Observation
Admission logs, and any other segregation or observation logs, including logs that reflect staff
movements in and out of the SHU, from December 20, 2007, to December 22, 2008.

Supplemental ()bjections: The request may be construed to seek protected health information
that is protected from disclosure under federal and state privacy requirements, including HIPAA,
fean patient privacy and privilege provisions, and/or 5 U.S.C. § 552a

Request 45 provides as follows: Any and all documents regarding assignment of inmates in the
SHU facilities at R,CDC I, RCDC ll, and RCDC lll, including the nature and custody status ofthe
population confined in the SHU facilities, the average duration oftheir confinement, and access
to medical services in the SHU, and documents reflecting assignment of inmates to SHU for
medical purposes, from 2007 to the present.

Supplemental ()bjections: 'l`he request may be construed to seek protected health information
that is protected from disclosure under federal and state privacy requirements, including }~HPAA,
Texas patient privacy and privilege provisions, and/or 5 U.S.C. § 552a.

Request 55 provides as follows: Any and all documents related to the solicitation, evaluation,
issuance, or renewal of contracts between Reeves County and GEO or PNA, including all records
relating to: any initial offers, revisions to the offer, the final offer, all successful and unsuccessful
bids, any amended proposals, any past performance records, technical proposal records, bid
evaluation records, documents indicating the criteria to be used in making a final selection, and
minutes and audio recordings of Commissioner’s Court.

Supplemental Objcctions: The request may include classifiable and privileged as trade secrets,
the disclosure of which may place the defendant PNA in a competitive disadvantage in the
marketplace

Request 56 provides as follows: Any and all documents related to or otherwise indicating
remedial or corrective actions requested or required by BOP of Reeves County, GEO, or PNA,
including warnings, notifications, or other communication from BOP or its agents advising of
unsatisfactory conditions or non-compliance services, materials related to procedures for
requiring remedial steps, plans ofaction, and any response, investigation, or conclusion from
BOP following such actions

6941-125/1<MYE/1058252 Page 5

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Supplemental ()bjections: The request inquires into inter-agency and internal communications
and memoranda, the disclosure of which violates public policy as they are or may relate to
internal law enforcement communications and/or provision ofmedical services and/or the sort of
inter-agency communications that, ifdiscoverable, would stifie the free flow of information
among the defendants and the Bureau of Prisons and Reeves County and contractors

Request 57 provides as follows: Documents relating to reviews audits examinations
inspections or evaluations conducted by the Department ofJustice, the Department of Honteland
Security, the Oflice ofthe lnspector Gcneral, or any other governmental entity, including
regulatory agencies or by independent monitoring or evaluating entities including JCAHO, the
Commission of Accreditation for Corrections, or any other non-governmental entity. This
Request includes findings reports memos correspondence, audits surveys working papers
meeting minutes and other documents generated by the entity conducting the inspection as well
as responses regarding the findings

Supplemental Objcctions: 'l`he request inquires into inter-agency and internal communications
and memoranda, the disclosure ofwhich violates public policy as they are or may relate to
internal law enforcement communications and/or provision of medical services and/or the sort of
inter-agency communications that, if discoverable, would stifle the free flow ofinformation
among the defendants and referenced agencies or bodies

Request 58 provides as follows: Any and all documents relating to reports audits assessments
reviews examinations inspections or evaluations prepared by or for Reeves County, GEO, or
PNA regarding the provision of medical care, staffing, pharmacy services or segregated housing
units at RC[)C lll, including the composition and title ofthe auditing team, their working papers
and meetings minutes

Supplemental Objections: The request inquires into inter-agency and internal communications
and memoranda, the disclosure ofwhich violates public policy as they are or may relate to
internal law enforcement communications and/or provision of medical services and/or the sort of
inter-agency communications that, ifdiscoverab|e, would stifle the free flow of information
among the defendants and referenced agencies or bodies

Request 61 provides as follows: Any and all documents related to or otherwise indicating
remedial or corrective actions requested or required by Reeves County ofGEO or PNA, including
warnings notifications, or other communication from Reeves County or its agents advising of
unsatisfactory conditions or non-compliance services materials related to procedures for
requiring remedial steps plans of action, and any response, investigation, or conclusion from
Reeves County following such actions

Supplemental Objections: The request inquires into inter-agency and internal communications
and memoranda, the disclosure of which violates public policy as they are or may relate to
internal law enforcement communications and/or provision of medical services and/or the sort of
inter-agency communications that, ifdiscoverable, would stifle the free flow ofinformation
among the defendants and referenced agencies or bodies

Request 62 provides as follows: Any and all memoranda, letters, notes, entail messages meeting
minutes or summaries correspondence, and all other documents referring or relating to the
quality, adequacy, or timeliness or health care provided at RCDC llf, including all criticisms

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critiques, or identification of deficiencies in the provision ofmedical care at RCDC lll, from
2007 to the present.

Supplemental Objections: The request inquires into inter-agency and internal communications
and memoranda, the disclosure of which violates public policy as they are or may relate to
internal law enforcement communications and/or provision of medical services and/or the sort of
inter-agency communications that, if discoverable would stifle the free flow of information
among the defendants and referenced agencies or bodies

Request 63 provides as follows: All minutes of meetings of RCDC lll medical care providers
and any other meetings at which the medical status ofinmates is discussed, including medical
staff meetings housing unit meetings infirmary staff meetings and wardens’ or deputy wardens’
meetings and meetings of any group, committee, or other body that determines whether or when
a RCDC lli inmate will receive out-of~institution medical care or consultation or treatment from
2007 to the present.

Supplemental Objections: The request may be construed to seek protected health information
that is protected from disclosure under federal and state privacy requirements including HIPAA,
Texas patient privacy and privilege provisions and/or 5 U.S.C. § 552a

Requcst 65 provides as follows: Any and all documents describing quality measurement systems
for health care services and clinical care quality and performance improvement programs used by
any l)efendant.

Supplemental Ol)jections: The request inquires into inter-agency and internal communications
and menioranda, the disclosure of which violates public policy as they are or may relate to
internal law enforcement communications and/or provision of medical services and/or the sort of
inter-agency communications that, ifdiscoverable, would stifle the free flow ofinformation
among the defendants and other governmental agencies or bodies

Request 8 provides as follows: Any and all documents that you intend to offer into evidence, or
as a demonstrative exhibit, at trial, or intend to use to prepare for or as an exhibit at a deposition
in this matter.

Objections: inquiries into these defendants' deposition and/or trial preparation and trial
strategy are matters of attorney work product. The request seeks to circumvent the timeframe for
disclosure ofexhibits under the applicable federal rules of civil procedure and local rules.

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UNI"l`ED STATES DISTRlCT COURT
WESTERN DISTRICT OF 'I`EXAS
EL PAS() DWISlON

GRACIELA GAL[NDO; JESUS
GALINDO, SR.; EDI'I‘H GALINDO,
Individually and as Next Fricnd of
MARGAR,ITA GALINDO, and as
Representative of the ESTATE OF
JESUS MANUEL GALINDO; ERICA
LOZANO, as Next Friend of
.IO}»INATI'~IAN GALI'NDO and JACOB
GAI.,INDO; and JANNETTE FLORES
I§S'I`RjXD/\, as Next Friend of LESLIE
ESTRADA,

Plaintiffs,
v. No. I£P-I()-CA~454~DB-NJG
RlEE\/ES COUNTY, TEXAS; THE GEO
GR()UP, lNC.; PHYSlCIANS NETWOR,K
ASS()CIATlON; and in their lndividual
Capacitics: VERNON FAR'I`HING, M.D.;
WALTER BRADY, D.O.; RlCl~'IARD
FEARS` P.A,; JAM,ES FITCH; LOU ANN
l\/III,l,,S/XP7 R.N.; PNU BULI,,,GCK;
Warden DWIGHT Sll\/IS; Capt. CHAD
DEVIV(); LT, KENNETH MARTIN;
JAMES BURR{§LL, Federal Bureau of
Prisons (BOP`) Privatization Management
Branch Administrator; MATTHEW NACE,
Chief, B()P Acquisitions Branch;
EDUARDO DE JESUS, M.D,, BOP
l\/Iedical Auditor; and DONNA GRUBE,
BOP Contracting Off`lcer,

Defendants.

RESPONSES OF DEFENDANTS PHYSICIANS NETW()RK ASSOCIATION
ANI) VER,N()N FARTHING, M.D. 'l`O PLAINTIFFS' FIRST SET OF I)OCUMENT REQUESTS
Com@ now Physicians Network Association and Vemon Farthing, M.D., two of the defendants

herein_ Subject to and Without waiving their objections and Supplemental objections, and Submit the

following responses to plaintiffs' first set of document requests

6941- l 25/KMYE/!()58()99

Respectfully submitted,

MOUNCE, GREEN, MYERS,
SAFI, PAXSON & GALATZAN
A Professional Corporation

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FAX (915) 541-1526

s x / .
By: t M'@Mw\/`

H. Keith Myers U

State Bar #14760400

Attorneys for Defendants PNA, Farthing,
Fears, Fitch & Millsap

 

CERTIFICATE OF SERVICE

l hereby certify that a true and correct copy of the foregoing Was served on this l lth of August,
201 l by facsimile transmission to l\/ls. Cara A. Hendrickson, Attorney for Plaintiffs, 70 W. Madison
Street, Suite 4000, Chicago, ll|inois 60602; by hand delivery, return receipt requested, to Mr. Leon
Schydlower and l\/Ir. l\/Iig,uel Ange| Tolres, Attorneys for Plaintiffs, 2l0 N. Campbell Slreet, El Paso,
Texas 79901; by hand delivery to l\/lr. Richard Bonner, Attorney for Defendanl Reeves County Texas,
221 N. Kansas, Suite 1700, El Paso, Texas 79901; by mail to Ms. Lisa Graybill, ACLU Foundation of
Texas, P. O. Box 12905, Austin, TX 78711-2905; by mail to Mr. Eduardo R. Castillo, Assistant United
States Attorneys, 700 E. San Antonio, Suite 200, El Paso, Texas 79901; by mail to l\/lr. Denis Dennis,
Attomey for Defendant GEO Group, P. 0. Box 131 l, Odessa, Texas 79760; and by mail to Ms. Cynthia
L|amas, Attorneys for Defendant Brady, 124 W. Castellano Drive Suite 100, El Paso, Texas 79912.

hilme

H Keith Myers\)

F\)

Any and all statements given to or by any Defendant, or agent or employees or representative
thereof, that refer to or relate to the allegations in the Complaint or the defenses to those
allegations

Response: These defendants have no responsive documents

Any and all statements of any non-paity witnesses that refer or relate to the allegations in the
Complaint or the defenses to those allegations

Response; These defendants have no responsive documents

A|l documents relating to (that either support or undermine) any of any Defendant's affirmative
defenses

Response: See medical records previously produced on behalf of defendants Richard Fears,
P.A., James Fitch and Lou Ann Millsap, R.N., numbered FFl\/l 0003 through
0l77, and documents produced by all other parties in discovery hei'ein. These
defendants have not yet determined what documents will be utilized in discovery
and at trial.

A|| documents sent or received by you in connection with or as a result of any subpoena or
document request served by you on a third party or Defendant iii this matter.

Response: These defendants presently have no responsive documents

Copies of any and all insurance policies which do or may provide coverage for the claims in the
above-captioned matter, including any policies for which coverage has been sought for this
matter.

Response: Copies of declarations pages for insurance policies identified in these defendaiits'
initial disclosures were previously produced on behalf of defendants b`eai's, Fitch
and Mil|sap (numbered FFM 0001 & 0002). The entire policies are available for
inspection and copying at the offices of these defendants' counsel, at any
mutually convenient date and time, upon reasonable notice.

A|l lion-privileged documents provided to, received from, reviewed, consulted or created by, or
relied upon in connection with this matter by any expert or opinion witness that Defendants may
call at any hearing or trial in this case. This Request includes, without limitation, notes,
men'ioranda, engagement letters and any communications (l) regarding the compensation for the
expei‘t's study or testimony; (2) that identify facts or data that Defendants' counsel provided and
that the expert considered in forming the opinions to be expressed; or (3) that identify
assumptions that Defeiidants' counsel provided and that the expert relied on in forming the
opinions to be expressed

Resporise; These defendants presently have no responsive documents

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A copy ofthe resume or curriculum vitae for every expert or opinion witness that you may call to
testify at any hearing or trial in this case

Response; These defendants presently have no responsive documents

Any and all documents that you intend to offer into evidence, or as a demonstrative exhibit, at
tria|, or intend to use to prepare for or as an exhibit ata deposition in this matter

Response: These defendants object to inquiries into their deposition and/or trial preparation
and trial strategy, which are matters of attorney work product. These defendants
Wil| comply with all requirements for disclosure of exhibits under the applicable
federal and local rules of civil procedure; subject thereto, not as yet determined

Any and all documents relating or referring to Ga|indo or any ofthe plaintiffs in this niatter.

Response: See records produced and/or referenced in response to request 3, and all other
documents produced and/or referenced in response to the other requests herein
These defendants are withholding the following documents, which are privileged
correspondence exchanged with these defendants' counse|; correspondence
exchanged with these defendants' insurance carrier(s); peer review documents,
pertaining to root cause analysis concerning death of Jesus Galindo, completed
on or about December 22, 2008.; pertinent documents promulgated by the
Bureau of Prisons that are not being produced by the federal defendants herein
and for which the Bureau of Prisons has not given these defendants permission to
release

Any and all documents that refer to or relate to any investigation conducted or authorized
regarding Ga|indo, including any investigation regarding the conduct of any Defendant.

Response: These defendants have no non-privileged documents responsive to the request
These defendants are withholding, as privileged, documents pertinent to peer
review, concerning root cause analysis ofthe death of Jesus Ga|indo, completed
on or about December 22, 2008, and all attorney work product

Any and all documents relating to medical care provided (or denied) to Ga|indo, including his
medical liles, treatment plan, inmate intake screening, health appraisal, nurse's notes, and
notification and documentation of off-site treatment.

Response: See medical records produced on behalf of defendants Fears, Fitch and l\/lil|sap
(FFM 0003 through 0177).

Any and all SENTRY records related to Ga|indo. This Request includes metadata related to each
SENTRY entry regarding Galindo, including the time each entry was made and the identity of
each individual who entered data into the SENTRY system. This Request also includes any
portion of any manual or other document providing definitions for any abbreviation used in any
SENTRY records produced in response to these Requests.

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Response: See any responsive records being produced by the federal defendants herein.
l`hese defendants have not received permission from the Bureau of Prisons to
release any further responsive documents

Any document relating or referring to any communication by Galindo or of any person with
Galindo beginning in 2007. 'l`his Request includes any correspondence, grievance, sick-call
request cop-out` kite, or response as well as phone and mail logs and audio tapes reflecting or
recording communications

Response: See medical records referenced in response to request l l.

Any document contaiiiing, reflecting or referring to any communications regarding Galindo. This
Request includes any electronic communications any notes or minutes of any meeting or
conversation, any Uti|ization Review Committee reviews, and any documents reflecting
communications with any individual acting on Galindo's behalf

Response: See medical records referenced in response to request l l. These defendants have
no further responsive documents other than documents that are privileged in
connection with peer review and root cause analysis ofthe death ofJesus
("i`alindo* completed on or about December 22, 2008 and attorney work product
and attorney-client communications

Any and all documents relating to the assignment and placement of Galindo in SHU, including
any psychological evaluations ofGalindo and Galindo's SHU record

Response: 'l`hese defendants have no responsive documents beyond the medical records
referenced in response to request l l.

Any and all documents relating to any handbook or other documents provided to RCDC lll
inmates regarding rules, rights, responsibilities policies, or procedures at RCDC lll, including
instructions on accessing medical care. This Request also includes records reflecting which
materials were provided to Galindo.

Response: ’I`hese defendants believe that responsive documents would be under the care,

custody or control of defendant GEO Group.

Any photographs or videos recordings taken from December l l, 2008 - December 22, 2008,
taken in connection with or related to Ga|indo's death, including photographs or videos of any
subject.

Response; These defendants have no responsive items

Any photographs or video recordings depicting Ga|indo.

Response: These defendants have no responsive items other than any that has been produced
in discovery by other parties herein.

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Any and all reports, summary, analyses, or autopsies regarding the manner or cause ofdeath of
Galindo, and any documents reflecting referring to, or containing communications regarding the
same

Response: A copy ofthe medical examiner's private autopsy report and toxicology report
have been produced by defendants Fears, Fitch and l\/lillsap in their responses to
plaintiffs' first document requests, identified as l~`Fl\/t 0043 through 0053. These
defendants presently have no further non-privileged responsive documents
These defendants are withholding, as privileged, documents pertaining to peer
review and root cause analysis of the death ofJesus Galindo completed on or
about December 22, 2008.

A copy of any personnel policy manual and employee handbook in effect from 2007 to the
present.

Response: These defendants are producing a responsive document

Any and all personnel files, grievance files, disciplinary files, supervisor, or other side files, EEO
files or other investigatory files that relate to any of the individual Defendants

Response: Personnel liles for Richard Fears, P.A., james Fitch and Lou Ann Millsap, R_N.
are being produced Sa|ary and Social Security information have been redacted Performance
appraisals have been withheld, due to the individua|s' personal and privacy rights These
defendants have no personnel file for Vernon Farthing, Jr., M.D.

Job descriptions for each position held by each individual Defendant from 2007 to the present.

Response: These defendants are producing responsive documents

Organization ehaits or similar document depicting management, oversight, responsibility, or
staffing, including medical staffing, of RCDC lll at all times from 2007 to the present.

Response: 'l`hese defendants are producing a minimum staffing pattern for Reeves County
Detention Center R-3 Health Services Unit, which is responsive to the request

Any and all documents that are (l) related to any proceeding against any of the Defendants
whether administrative, civil, or criminal that was commenced within ten years of the filing of the
Complaint in this matter and that was based upon allegations of false statements or falsifications
of any kind, medical malpractice or negligence claims or any other claims based on allegations of
deficient medical care, assault and battery, violation ofthe Eighth, Fourth, or Fourteenth
amendments to the U.S. Constitution, or ofa policy and practice and custom of imposing
dangerous or hazardous conditions on prisoners, and that (2) reflect the claims asserted, the forum
and status ofthe proceeding, and the disposition ofthe proceeding

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Response; Responsive documents may be obtained from the clerks ofthe Courts identified
in defendant Physicians Network Association’s response to plaintiffs'

interrogatory 2, and Vernon Farthing, M.D.'s response to plaintiffs’ interrogatory
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Any and all documents related to any type of accreditation or licensing of RCDC lll by any
private or public entity, including, but not limited, to the American Correctional Association, The
loiiit Conimission on Accreditation of l~lealth Care Organizations, the Board of Prisons
intergovernmental Agreement and Statement of Work, or the National Commission on
Correctional Hea|th Care,

Response: These defendants are producing documentation pertinent to the Joint
Commission on Accreditation ofl»lea|thcare Organizations.

Any and all employment contracts, agreements or letters describing the terms of individual
Defendants' employment in connection with RCDC lll from 2007 to the present.

Response: These defendants have no responsive documents beyond those contained in the
personnel files produced in response to request 2l.

A|l materia|s, including manua|s, policies rules, regulations, protoco|s, instructions, circulars,
practices, principles, procedures, requirements standards operational plans, post orders,
memoranda and other advisory or guidance materials or communications by the Defendants
related to disciplinary segregation of inmates, disciplinary housing, assignment to and removal
from the SHU, monitoring inmates held in the SHU, medical care provided to inmates in the
SHU, and observation of inmates requiring medical observation in the SHU at RCDC III from
2007 to the present.

Response: please refer to the BOP public website, www.bop.gov, for copies of BOP
program P603l.01 regarding patient care. These defendants are also producing
copies of RCDC lll policies on health appraisal and chronic care and dental care.

All materia|s, including maiiuals, policies, rules, regulations, protocols, instructions, circulars,
practices, principles, procedures, requirements, standards, operational plans, post orders,
memoranda and other advisory or guidance materials or communications by the Defendants
related to the provision of health care to inmates, including the means of evaluating or assessing
inmates for health problems; the treatment of inmates in need of medical observation, observation
care` or observation beds; the provision of prescription drug medication to inmates; provision of
dental care; procedures for chronic or acute care, including hospitalization and after-hours care;
conducting laboratory tests and processing and reporting results; determination of which
prescription medication will be prescribed to inmates; the movement of inmates from observation
to a community hospital or other off-site medical services provider; and any emergency transfer
plans at RCDC lll from 2007 to the present. The Request also includes a copy of the Policy and
Procedure (or Practice) Manual, Treatment or Patient Care Protocols, Standard Gperating
Procedures and BOP Clinical Practice Guidelines related to health care provision at RCDC llI.

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Response: Responsive BOP program statements can be located through use of the policy
locator, which can be found at http://www,bop.gov/DataSourcc/execute/dsPLoc.
Responsive clinical practice guidelines are available through the Bureau of
Prisons public website at htt://www.bop.gov/news/medresources.jsp. These
defendants are producing copies ofthe formu|ary for 2007 and 2008, and copies
of Reeves County Detention Center lll policies on health appraisal and chronic
care and dental care. Refer also to the above-referenced Bureau of Prisons public
website for copies of program statements P603 l .0] (patient care), P6360.0l
(pharmacy services) and P6400.02 (dental services)

 

Al| materials including manua|s, policies, rules, regulations protocols, instructions circulars,
practices principles procedures, requirements standards operational plans, post orders,
memoranda and other advisory or guidance materials or communications by the Defendants
related to the filing, processing, or review of medical grievances received from inmates, including
procedures for responding to formal or informal reports of medical grievances at RCDC lll from
2007 to the present.

Response: See defendant Physicians Network Association's answer to plaintiffs’
interrogatory 9; these defendants have no additional responsive documents

A|l materials including manuals policies, rules, regulations protocols, instructions circulars,
practices principles procedures, requirements standards operational plans, post orders,
memoranda and other advisory or guidance materials or communications by the Defendants
related to staffing ofinedical personnel at RCDC lll from 2007 to the present.

Response: See document produced in response to request 23.

Any and all documents regarding the occurrence and circumstances of each death of an RCDC
initiate from 2006 to the present7 regardless of the inmate's physical location at the time of death
and the actual or suspected cause of death. In this Request, the term "RCDC imnate" includes
persons who were RCDC l, ll, or ill inmates at the time oftheir death, or who died at a health
care facility or other B()P facility following transfer for medical treatment from RCDC. This
Request includes any and all documents peitaining to the cause of death, reports of investigations
into the circumstances surrounding the death, any requests for medical help by anyone regarding
the inmate, the inmate death report submitted to BOP or Reeves County, the morality review, any
Coroner's report or autopsy, and correspondence to or from BOP or any Defendant or the
deceased inmate’s family members

Response: See these defendants' objections and supplemental objections These defendants
have not received permission from the Bureau of Prisons to release any
responsive documents These defendants understand that federal defendants
herein have applied for a stay of discovery that would include production of
responsive information

A copy of the forms used for inmate Intake Screening, Health Appraisal, and l\/Iental Hea|th
Appi'aisal at RCDC IH.

Response: These defendants are producing responsive documents

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A copy of the forms utilized by inmates in order to access medical7 denta|, or mental health care
services in RCDC III.

Response: 'fhese defendants are producing responsive documents

Any and all documents notes or memoranda regarding the procedures to be used for medical
assessment or medical screening procedures for new inmates

Response: These defendants are producing responsive documents

l)ocuments stating, describing, or evidencing credentials of medical staff at RCDC lH from 2007
to the present, including educational, professional, and licensing information

Response: These defendants are producing a curriculum vitae for Vernon C. Farthing, Jr.,
M.D. Responsive documents for defendants Brady, Fears, Fitch and Millsap are
being produced in response to request 2l.

Any and all reports, summaries, or other compilations of data regarding the number of inmates
who received medical services offsite at a community hospital or other medical services provider
from 2007 to the present.

Response: Responsive documents for 2007 and 2008 are being produced

Any and all records or documents reflecting the identity ofthe inmates in need of medical care or
observation who were assigned to the SHU, including copies of any grievances or requests for
medical assistance filed by or on behalfof such inmates from 2007 to the present along with any
corresponding responses, logs or other documentation of those requests for medical assistance

Response: See previously submitted objections and supplemental objections

Any and all reports, summaries memoranda, or other compilations of data, whether formal or
infoi'mal, regarding grievances and inmate complaints relating to the provision ofinedical care
from 2007 to the present at RCDC llI.

Response: See previously submitted objections and supplemental objections for any and all
inmates other than Jesus Galindo. Responsive documents pertaining to Jesus
Galindo would be contained in the medical records referenced in response to
request l l.

Any and all documents used in connection with training of RCDC staff, including providers of
medical services, concerning disciplinary segregation of inmates, disciplinary housing,
assignment to and removal from the SHU, monitoring inmates held in the SHU, medical care
provided to inmates in the SHU, observation of inmates requiring medical observation in the
SHU, and the provision of medical care to inmates

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Response: These defendants will produce any non»privileged documents under the custody
or control of defendant Physicians Network Association that can be located

A copy of the formulary list for pharmaceuticals available at RCDC III from 2007 to the present.

Response: See documents produced in response to request 28.

Any and all documents and communications reflecting policies, procedures, protocols relating to
the administration of pharmacy services, whether activities related to said services are conducted
at RCDC or elsewhere, including the Pharmacy Technical Reference Mariual, the pharmacy
policy manual, any policies, procedures, or protocols used for obtaining non-formulary
medication, administering and distributing medication, or related to Medical Administration
Records.

Response: ln addition to the documents produced and/or referenced in response to request
28, these defendants will produce any further non-privileged responsive
documents that can be located

Any and all documents and communications reflecting policies, procedures, or protocols used for
allowing "keep on person" medications in the treatment of RCDC inmates

Response: 'fhese defendants will produce non-privileged responsive documentation that can
be located

Copies of the chronic disease log and referral log book at RCDC III from 2007 to the present.

Response: These defendants will produce non-privileged responsive documentation that can
be located

Copies ofthe Sl-IU Admission logs, Ternporary Placement in Disciplinary Segregation Order
reports, Segregation Review forms, Medical Observation Admission logs, and any other
segregation or observation logs, including logs that reflect staff movements in and out of the
SHU, from December 20, 2007, to December 22, 2008.

Response: See previously submitted objections and supplemental objections As to Jesus
Galindo, any responsive documents would be contained in the medical records
being referenced in response to request ll.

Any and all documents regarding assignment of inmates in the SHU facilities at RCDC l, RCDC
H, and RCDC III, including the nature and custody status of the population confined in the SHU
facilities, the average duration of their confinement, and access to medical services in the SHU,
and documents reflecting assignment of inmates to SHU for medical purposes, from 2007 to the
present.

Response: See documents referenced in response to request 27.

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Any and all documents reflecting the physical condition or maintenance ofthe Sl~lU facilities at
RCDC lll from 2007 to the present, including communications memoranda, work requests or
orders maintenance reports invoices for work requested or performed, or photographs

Response: 'fhese defendants have no responsive documents and assume that such would be
under the care, custody or control of other parties

Any and all documents that reflect the use of iiitercoms or audio or video surveillance used in the
Sl~~lU or used to monitor inmates in need of medical observation, including any policies or
protocols and any records regarding the use of such equipment at RCDC lll from 2007 to the
present.

Response: These defendants have no responsive documents and assume that such would be
under the care, custody or control of other parties

l)ocuineiits reflecting the staffing of the SHU, from December 20, 2007, to December 22, 2008,
including any duty assignment rosters nurse on duty rosters daily duty rosters shift counts post
orders logs medical care staff work schedules time records and staffing records showing
correctional and health care providers assignments overtime, and vacancies

Response: Responsive documents will be contained in the medical records referenced in
response to request ll.

Documents reflecting the staffing for the provision of medical care at RCDC III from December
20, 2007, to December 22, 2008, including any duty assignment rosters nurse on duty rosters
daily duty rosters shift counts post orders logs medical care staff work schedules time records
and staffing records showing correctional and health care providers assignments overtimc, and
vacancies

Response: "l`hese defendants will produce responsive documentation once available.

Copies ofthe schedules for: sick call, physician call, and the chronic clinic.

Response: These defendants will produce responsive documentation once available

Any and all documents reflecting the communication, whether verbal or written, with BOP
officials regarding distribution of staff, including requests for change in the number, type or
distribution of staff at RCDC IIi, in the SHU, or in order to provide medical care.

Response: These defendants have no responsive documents

Documents stating, describing or evidencing the number and type of correctional officer and
medical provider positions allotted for and actually filled in RCDC III from 2007 to the present,
including any staffing plans and any documents reflecting the number of person-hours (or similar
metrics) worked by correctional officer and medical care providers

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Response: ln addition to the document produced in response to request 23, these defendants
will produce any additional responsive documentation that can be located

All contracts subcontracts service agreements memoranda of`understanding, or lease
agreements including any amendments modifications revisions renewals or extensions thereto
relating to the detention of inmates at RCDC lll from 2007 to the present between (a) Reeves
County and BOP (inclnding the CAR- 5 contract and BOP Statement of Work); (b) Reeves

County and GE (); (c) Reeves County and PNA; and (d) any Defendant and any other entity for
the provision ofmedical services for inmates

Response: See documents being produced in response to request 55‘

Any and all invoices related to services provided at RCDC lll from 2007 to the present including
all Reeves County invoices to BOP under the CAR- 5 contract all monthly invoices submitted to
Reeves County by PNA, and all monthly invoices submitted to Reeves County by GEO. T his
Request also includes any records showing a reduction or withholding of payment to Reeves
County, GEO, or PNA for failure to perform a service required under the applicable contract

Response: Invasive of PNA's privacy rights as the publication of such information may
adversely affect said defendant's standing and competitive position in the
industry These defendants will work with all other parties herein to formulate a
mutually acceptable procedure for the protection and confidentiality of such
information, to the extent discoverable

Any and all documents related to the solicitation, evaluation, issuance, or renewal of contracts
between Reeves County and GEO or PNA, including all records relating to: any initial offers
revisions to the offer, the final offer, all successful and unsuccessful bids any amended proposals
any past performance records technical proposal records bid evaluation records documents
indicating the criteria to be used in making a final selection, and minutes and audio recordings of
Coinniissioner's Couit.

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Response: These defendants are producing a copy ofthe Medical Services Agreement
between Physicians Network Association and Reeves County Commissioners
Court for the Reeves County Detention Center R-3.

Any and all documents related to oi‘ otherwise indicating remedial or corrective actions requested
or required by BOP of Reeves County, GEO, or PNA, including wamings, notifications or other
communication from BOP or its agents advising of unsatisfactory conditions or non-compliance
services materials related to procedures for requiring remedial steps plans of action, and any
response, investigation, or conclusion from BOP following such actions

Response: See previously submitted objections and supplemental objections These
defendants have not received authorization from the Bureau of Prisons to release
any responsive information

Documents relating to reviews audits examinations inspections or evaluations conducted by the
Department ofJustice, the Depai'tnient of Homeland Security, the Office ofthe lnspector General,
or any other governmental entity, including regulatory agencies or by independent monitoring or

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evaluating entities including JCAHO, the Commission of Accreditation for Corrections, or any
other nongovernmental entity. This Request includes findings repoits, memos correspondence,
audits surveys working papers meeting minutes and other documents generated by the entity
conducting the inspection as well as responses regarding the findings

Response: See previously submitted objections and supplemental objections These
defendants have not received authorization from the Bureau of Prisons to release
any responsive information Subject thereto, see document produced in response
to request 25.

Any and all documents relating to reports audits assessments reviews examinations
inspections or evaluations prepared by or for Reeves County, GEO, or PNA regarding the
provision of medical care, staffing, pharmacy services or segregated housing units at RCDC lll,
including the composition and title ofthe auditing team, their working papers and meetings
minutes

Response: See previously submitted objections and supplemental objections 'I`hese
defendants have not received authorization from the Bureau of Prisons to release
any responsive information Subject thereto, these defendants will produce any
non-privileged responsive information for which they receive authorization to
release

Any and all manuals policies rules regulations protocols instructions circulars practices
principles procedures requirements standards and other advisory or guidance materials by
Reeves County, GEO, or PNA relating to: (a) R,eeves County, GEO, or PNA's procedures for
requiring and/or responding to formal or informal repoits of medical grievances by inmates and
(,b) Reeves County, GE(), or PNA's auditing, monitoring, or supervising the provision of health
care. provision of prescription medication, staffing levels and inmate segregated housing at
RCDC lll.

Response: See response to requests 28 and 29.

Any and all documents produced by or provided to the Reeves County Monitor assigned to
RCDC lll from 2007 to the present.

Response: 'I`hese defendants have no responsive documents

Any and all documents related to or otherwise indicating remedial or corrective actions requested
or required by Reeves County of GEO or PNA, including warnings notifications, or other
communication from Reeves County or its agents advising of unsatisfactory conditions or non-
compliance services materials related to procedures for requiring remedial steps plans of action,

and any response, investigation, or conclusion from Reeves County following such actions

Response: These defendants have no responsive documents

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Any and all memoranda, letters notes email messages meeting minutes or summaries
correspondence, and all other documents referring or relating to the quality, adequacy, or
timeliness or health care provided at RCDC Ill, including all criticisms critiques or
identification of deficiencies in the provision of medical care at RCDC lll, from 2007 to the
present.

Response: See previously submitted objections and supplemental objections 'I`hese
defendants have no responsive documents concerning Jesus Galindo other than
the peer review and root cause analysis that was completed on or about
December 22, 2008, subsequent to the events giving rise to this lawsuit, which
are privileged and being withheld

All minutes of meetings of RCDC lll medical care providers and any other meetings at which the
medical status of inmates is discussed, including medical staff meetings housing unit meetings
infirmary staff meetings and wardens’ or deputy wardens’ meetings and meetings of any group,
committee, or other body that determines whether or when a RCDC IIl inmate will receive out~
of-institution medical care or consultation or treatment from 2007 to the present.

Response: See previously submitted objections and supplemental objections 'I`hese
defendants will produce any non-privileged responsive documents upon
authorization from Reeves County and/or GEO Group.

Any treatment guidelines or other guidances memoranda, policies procedures or post orders
including BOP Clinical Practice Guidelines regarding the treatment of epilepsy, seizures or
gingival hyperplasia, and the use of Dilatin, Topomax, or any other ami-seizure medication at
RCDC lll.

Response: See documents produced and/or referenced in response to request 28.

Any and all documents describing quality measurement systems for health care services and
clinical care quality and performance improvement programs used by any Defendant.

Response: See previously submitted objections and supplemental objections The request is
so broad and vague that these defendants cannot reasonably fashion a response
thereto.

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l’risons (BOP) Privatization lvlanagement

Branc|i Adniinistrator; MA'l"fl~lEV\/' N/\C`E,

(‘l\ief. B()P Acquisitions Branch;
E|)UARD() Dl€ JESUS, M.D., B(:)P
l\/ledical /\uditor; and DONNA GRUBE.
[%t,)l’ contracting Officer,

Defendants

SUPPLEM F.NTAL RESPONSES ()F I)EFENDANTS PHYS]C|ANS NETW()RK ASSOCIA'I`I()N
AND VERN()N FARTHING. M.l). T() PLAINTIFFS' FIRST SET OF l)OCUMENT REQUES'I`S

Conie now Pliysicians Network Association and \/ernon Farthing, M.D.t two of the defendants
hercin. subject to and without waiving their objections and supplemental objections and submit the

following su )‘)lemental res )onses to )laintifl`s‘ first set ofdocument re uests, in addition to all revious
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No. EP~lO-(/`A~Ll$el~[)B-Ntl(]

EXHIB|T

Respeett`u|ly submitted

MOUNCE, GREEN, MYERS,
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By: i»
H. i<eith‘ writs
State Bar #l 6()400
Attorneys l`Or Defendants PNA, Faithing,
Fears` Fitch & Mi|lsap

CER'I`IFICATE OF SF,RVICE

| hereby certify that a true and correct copy ot`tlie foregoing was served on this 261h of
Septeinber, 2()| l by l`aesimile transmission to Ms. Cara A. llendrickson` Attorney for Plaintil`t`s. 70 W.
Madison Street, Suite ~l()t)()` Chieago, |llinois 60602; by hand delivery return receipt requested t() Mr.
leon Schydlower and l\/lr. Migue| Angel Torres. Attorneys for Plaintif`fs~ 210 N. Campbe|l Street, E|
Paso. lean 799()l; by hand delivery to Mr. Riehard l'SOnnen Attorney l`Or Defendant Reeves County
'l`cxas. ZZl N. Kansas. Suite 1700, El Paso, lean 79901; by mail to Ms. Lisa Graybill, ACLU
ll`oundation <)l"l`c.\'as, P, (:). BO.\' l2905` Austin, 'I`X 787| |-2905; by mail to Mr. liduardo R. Casti|lo,
Assistant Unith Statcs Attnrncys. 700 F,. San Antonio, Suite 200, El l’ast). Texas 7990 l; by mail to Mr.
Denis Dennis, Attorncy t`or Defendant (',}E() Group, P. (`)i Bo.\' l3l l, ()dessa, 'l`e.\'as 79760; and by mail to
Ms. Cynthia L|anias` Attc>rneys t`or Defendant Brady, 124 W. C`astel|ann l‘)rive. Suite lOt), El Paso, Texas
799 | 2.

 

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/‘\ny and all documents regarding the occurrence and circumstances of each death ofan RCl)C
inmate front 2006 to the present` regardless ofthe inmate’s physical location at the time ot`death
and the actual or suspected cause of death ln this Request, the tertii "RCDC imnate" includes
persons who were RC`l`)C |. ll. or lll inmates at the time oftbeir death` or who died ata health
care facility or other B()P facility following transfer for medical treatment from RCDC. 'l`his
Request includes any and all documents pertaining to the cause of death. reports of investigations
into the circumstances surrounding the death, any requests for medical help by anyone regarding
the inmate, the initiate death report submitted to B(')P or Reeves County the morality review_ any
Coroner’s report or autopsy and correspondence to or from l?(')P or any f)efendaiit or the
deceased inmate’s family members

Supplemental Respunse: Sec these detendants` objections and Supplemental objections
rl`hese defendants have not received authorization from families
or representatives of deceased initiates for release ofmedical
records Any root cause analysis or peer review investigation of
any inmate’s death would be subject to the previously cited
privileges

Any and all documents used in connection with training ofRC[)C staff. including providers of
medical services concerning disciplinary segregation of inmates, disciplinary housing.
assignment to and removal from the S| lU, monitoring inmates held in the SHU` medical care
provided to inmates in the SHU, observation of initiates requiring medical observation in the
.‘s‘| lt.l. and the provision of medical care to inmates

Supplemental Response: 'l`ltese defendants are producing a copy of policy A~37. lt
regarding medication administration training

Any and all documents and communications reflecting policies, procedures, or protocols used for
allowing "keep on person" medications iii the treatment of RCDC inmates

Sup[)lementa| Response; '|`hese defendants are producing copies of policy nos. A~37, A-
37.l and A-3X regarding pharmaceuticals and medications

[)ocuments reflecting the staffing for the provision ofmedical care at RCDC lll from December
20` 2()07` to December ZZ_ 2008. including any duty assignment rosters. nurse on duty rostei's.
daily duty rosters shift counts. post oi'dei‘s, logs. medical care staff work schedules time rccords,
and staffing records showing correctional and health care providers assignments ovenime, and

vacancies

Supplcmental Response: 'l"hesc defendants are producing additional responsive
documents identifying employees who were active during the
requested time frame with their home addresses and earnings
information redacted

l)ocuments stating. describing or evidencing the number and type ofcorrectional officer and
medical provider positions allotted for and actually filled in RCDC lll from 2007 to the present.

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including any staffing plans and any documents reflecting the number of persoii~hours (or similar
metrics) worked by correctional officer and medical care providers

Suppiementa| Response: ln addition to the previously submitted docuiiient, see
information concerning staffing contained iii documents
produced in response to request 63.

63. All minutes of meetings of RCDC lll medical care providers, and any other meetings at which the
medical Status of inmates is discussed, including medical staff meetings, housing unit meetings,
infirmary staff meetings and wardens' or deputy wardens' meetings and meetings of any group.
committee or other body that determines whether or when a R(.`I)C lll inmate will receive out-
of~institutioii medical care or consultation or treatment from 2007 to the present.

Supplemental Response: f'l`hese defendants are producing copies of minutes from quarterly
warden's meetings, and pharmacy & therapeut'ics meetings
during the relevant time pcriod. 'fhese defendants are
withholding minutes ofquality improvement committee
meetings dated October 2, 2008 and January |4. 2009, and of
PNA's infection control committee meetings dated January l4,
2009 and October Z, 2008, which are privileged and confidential
under 'l`ex. Hea|t[i & Safety Code § lol.(l32.

65. Any and all documents describing quality measurement Systems for health care services and
clinical care quality and performance improvement programs used by any Defendant

Supp|emental l{esponse: See documents produced in response to request 63.

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UNITED STATES DlSTRlCT COUR'I`
WESTERN DISTRICT OF TEXAS
file PASO DlVlSlON

CJRAC`II£LA (}Al,ll\'l)(); JESUS
()AL|ND(), SR.; EDlTl~l GAL|NDO,
lndividually and as Next Friend ol`
MARGARI'[`A GAL|ND(), and as
Representative ofthe ES"|`AFI`E Ol"
JI~?SUS MANUE|,,. GAL|ND(); [;`RlCA
l,OZANO, as Ne,\'t Friend Ol`
J()l'lNA'l`l~l/\N (i/\LlNDO and JACC)B
GALlN[)O; and JANNETTE FL()RES
[§STRADA, as cht Friend ofl.,ESLlE
ESTRA[)A,

Plainti\"fs,
v. No. lil’-l(l»CA-454~l)B-NJG
REEVES (.`,OUNTY, 'I`EXAS; THE (}EO
Cil{¢.)l,,lP, INC.; PHYSlClANS NETW()RK
/\SSOC|ATlON; and in their Individual
Capacities: VI;`RNON F/\RTl'llNG, M`[).;
WALT[",R BRADY. D.O.; Rl(l`H/\RD
Fl{/\RS. P,A.; J/\MES F|'l"CH; LOU ANN
l\'lll.l,.SAl'" R.N.; FNU Bl,lLLOCK;
Warden DW!GHT SIMS; Capt. CHAD
DE\/l\/O; LT. KlZNNETll MART|N;
.lAMF;S BURRELL, Federal Bureau ol`
Prisons (BC)P) Privatization Management
Braneh Administrutor; MATTI"IEW NAC`E.
Chief, BOP Acquisitions Branch;
l?DU/\RDO Dli JESUS, M.D., BOP
Medical Andi(or; and DGNNA GRUBE.
BOP Contracting Ot`ficer,

Defendants

SECOND SUPPLEMENTAL RESP()NSES OF DEFENDANTS PHYSICIANS NETWORK
ASSOCIATI()N AND VERNON FARTH!NG, M.D. T()
PLAINT!FFS’ F`IRST SET 0F DOCUMENT RF.OUESTS
Con’ie now Physicians Network Association and Vemon l"anhing, M.D., two ofthe defendants
herein. subject to and without waiving their objections and supplemental objections and submit the
following second supplemental responses to plaintiffs first set ofdocument requests, in addition to lall

previous responses

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Respectf`ully submitted,

MOUNCE, GREEN, MYERS,
SAFI, PAXSON & GALATZAN
A Prot`essional Corporation

P.O. Drawer 1977

El Paso, Texas 79950~1977

(9l5) 532-2000

l"/\X (9|5) 54|¢| 526

'H. Keith Myers 0

State Bar #1476()4()0

Attorneys f`or Defendants PNA, Farthing,
Fears, Fitch & l\/lillsap

CER'I`lFlCATE OF SERVICE

l hereby certify that a true and correct copy ofthe foregoing Was served on this 16th of
l\love.'nher, 20| l by l`acsirnile transmission to Ms. Cara A, Hendrickson, Attorney for Plaintit`fs, 70 W.
Madison Strect, Suite 4000. Chicago` Illinois 606()2; by hand delivery return receipt requested, to Mr.
Leon Schydlower and Mr. Miguel Angel Torres, Attorneys for Plaintit`t`s, 2l0 N. Campbell Street, El
Paso. Texas 799() l; by hand delivery to Mr. Richard Bonner, Attome_v f`or Defendant Reeves County
Texas, 22l N. Kansas, Suite 1700, El Paso, Texas 79901; by mail to Mr. Denis Dennis, Attomey for
l)el`endant GEO Group, P, O. Box l3| l. ()dessa, Texas 79760; and by mail to Ms. Cyntliia Llamas,
At'torne_vs for Defendant Brady, l24 W. Castellano riv , Suite l , Paso, Te.\'as 799|2.

 

ii Ke'im Myers‘ \)

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Any and all documents relating or referring to Galindo or any ofthe plaintiffs in this mattert

Second Supplemental Response: 'l`hese defendants are producing additional records that
have been located regarding Mr. Galindo; identifying
information as to other initiates has been redacted

Any and all documents relating to medical care provided ('or denied) to Galindo, including his
medical files, treatment plan, initiate intake screening, health appraisal, nurse's notes, and
notification and documentation of off~site treatment.

Second Supplemental Response: See additional records produced in response to request 9.

Any and all documents relating to any handbook or other documents provided to RCDC lll
inmates regarding rules. rights, responsibilities policies, or procedures at RCD(`.,` llI_ including
instructions on accessing medical care This chuest also includes records reflecting which
materials were provided to (}a|iiido.

Second Supplemental Response: 'l`hese defendants are producing a copy ofthe 2()| l
lnmate Handbook, \vhic`n is the only version presently
available to tliein. lf and when any other version is
|ocated. it will be produced

Organizntion charts or similar document depicting management` oversiglit, responsibility or
staftinp,; including medical staffing, of RCDC lll at all times from 2007 to the present.

Second Supplemental Response: These defendants are producing an organizational chart
responsive to the request, and a vacancy report dated
May i. 2008.

Any and all documents related to tiny type of accreditation or licensing of RCDC lll by any
private or public entity. including_ but not limited, to tlie American Correctional Association. The
Joint Commission on Accreditation of Health Care Organizations, the Board of Prisons
intergovernmental Agreement and Statement of Work, or the National Comniission on
(/`orrectional liealth Care.

Second Supplemental Response: rl`hese defendants are producing additional responsive
documents related to the accreditation activity in April
2009 from the loint Commission.

Ali materials including manuals, policies, rules, regulations protocols, instructions, circulars,
practices principles, procedures, requirements standards operational plans, post orders,
memoranda and other advisory or guidance materials or communications by the Defendants
related to the provision ofhealth care to iumates, including the means ofevaluating or assessing
inmates for health problems; the treatment of inmates in need of medical observation, observation
care, or observation beds; the provision of prescription drug medication to inmates; provision of

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dental care; procedures for chronic or acute care, including hospitalization and after'hours care;
conducting laboratory tests and processing and reporting results; determination of which
prescription medication will be prescribed to inmates; the movement of inmates l`rom observation
to a community hospital or other off-site medical services provider; and any emergency transfer
plans at RC,`DC lll from 2007 to the present. Thc Request also includes a copy ofthe Po|icy and
Procedure (or Practice) l\/lanual, 'l`reatment or Patient Care Protoeols. Standard Operating
Proccdures and BOP Clinical Practice Guidelines related to health care provision at RCDC lll.

Second Supplementa| Response: T|iese defendants are producing additional responsive
documents as in effect in 2007~2008` and the 201 l PNA
Medical Po|icies and Proccdures.

A copy ofthe formulary list for pharmaceuticals available at RCDC lll from 2007 to the present.

Second Supp|ementa| Response: ’fhese defendants are producing a copy of the 2009
approved formulary.

Any and all documents relating to reports, audits, assessments reviews, examinations
inspections or evaluations prepared by or for Reeves County, (`jl`iO, or PNA regarding the
provision of medical care` staffing, pharmacy services or segregated housing units at RCDC lll,
including the composition and title ofthe auditing team, their working papers, and meetings
minutes

Second Supplemental Response: These defendants are producing a responsive document
regarding year-end 2007. ln connection with previously
submitted objections and supplemental objections these
defendants are Withholding internal documents
concerning CFl\/l audits and review ofintemal
operations and procedures in response to CFM audits as
such documents are proprietary, and inextricably
intertwined with quality assurance and peer review and
the deliberative process

Any and al! documents describing quality measurement systems for health care services and
clinical care quality and performance improvement programs used by any Defendant

Second Supp|ementa| Response: These defendants are withholding internal documents
concerning review of internal operations and procedures
in response to CFM audits, as such documents are
proprietary, and inextricably intertwined with quality
assurance and peer review and the deliberative process

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UNlTF,D STATES DlS"I`RlCT COURT
Wl[§STERN DlSTRlC'l` OF TEXAS

EL PASO D|V|SlON

(}RAC`IELA GALIND(); JESUS
(.`iALlNDO, SR.; ED|'!`H GAL|NDO,
lndividual|y and as Ne.\'t Friend of
MAR(]ARI'I`A GALINDO, and as
chresentalive ofthe I~§S'l`ATE OF
JF,SUS MANUEL GAL[NDO'. ER|CA
l.OZANO. as Ne.\'t Fricnd of
.l()llNATl IAN GAIJ|NDO and J/\COB
GALINDO; and JANNE"VI`E FLORES
lES’I`RAD/X, as Next Friend of |,rESLllE
l`§STRADA.

Plainl i l`l`s,
v.

REEVES COUNTY. TEX/\S; 'l"HE GEO
GRC)UP, INC.; PHYSlCl/\NS NE'I`WORK
ASS()Cl/\'I`l()l\l; and in their lndividual
(`apacities: VIZRN()N l~`/\R"|`“HING` M.D.;
W',»‘\l.,]`l§R BRADY, l) (,).; RIC|{ARD
[’*`EARS` l"./\,; JAMLS Fl'|`CH; l,(')l,l ANN
M|LI¢SAP. R.N.; lFNLl liUl,ll(')(`,`K;
W;irdcn DWl(jl l'l' SlMS; C,`apl. Cl'l/\D
l)liV|V(); I,T. KF,NNETH MART|N;
J/\MES BURRELl,/, Federa| Bureau of
Prisons (BOP) Privatizalion Management
Branc|i Administrator; MAT“THI;`W NACE,
(`|iiel`, BOP Acquisitions Branch;
EDUARDO DE JESUS` M.D,, B(,)P
Medica| Auditor; and D()NNA GRUBE,
B()l* Contracting C)fi`icer,

Defendants

'I`HIRI) SUPPLEMENTAL RESPONSES OF DEFENDANTS PHYSIC]ANS NETWORK

WT

No. EP-|O~CYA~454-[)B~NJG

ASSOC[ATION AND VERNON FARTHING. M.D. T()
I’LAINTIFFS' FlRST SET OF I)()CUMENT REOUESTS

Come now Ph_\/sicians Network Association and Vernon Farthing, M.D., two of the defendants
herein, subject lo and without waiving their objections and supplemental objections, and submit the

following third supplemental responses to plaintiffs‘ first set of document requests, in addition to all

previous responses

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Respectt`u||y Submitted,

MOUNCE, GREEN, MYERS,
SAFI, PAXSON & GALATZAN
A Prot`essiona| Corporation

P,O. Dravver |977

E| Paso, Texas 79950~]977

(915) 532~2()00

F/\X (9|5) 54|-|526

By:* \Tj/?O\x ,

l 'l{. Keith'l\/Iyers
stare Bar#m' 400
Attorneys for Defendants PNA, l"arthing,
Fears, Fitch & Mil|sap

 

CER'I`IFICATE ()F SERVICE

| hereby certify that a true and correct copy ot`the foregoing was served on this 8th of December,
Zt)| | by mail to Ms. (`ara A. l~{endrickson, Attorney for P|aintift`s, 70 W. Madison Street, Suite 4()()0,
Chicago. |i|t`nois 60602; by hand delivery, return receipt requested, to Mr. |,Jeon Schydlower and Mr.
l\/iigue| Ange| Torres, Attonieys for Plaintit`t`s, 210 N. Campbe|l Street, E| Paso, Texas 79901; by hand
delivery to Mr. Richard Bonner, Attorney for Defendant Rceves County Te)<as, 22t N. Kansas, Suite
|70()` E| Paso, Texas 799()|; by mail to Mr. Denis Dennis, Attorney for Defendant GEO Group, P. O.
Box 13 | l, Odessa, 'l`exas 79760; and by mail to Ms. Cynthia L|amas, Attorneys for Defendant Brady,

124 W. Caste||ano Drive, Suite |00, li| Paso, Texa 79912.
n lb

o‘i~'ll-ll$/KMYF/l()',’l‘i}b

. Keith Myers

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/\ll materials including manuals policics, rulcs, regulations protocols, instructions, circulars,
pi'actices, princip|cs, procedures, requirements standards operational plans, post orders,
memoranda and other advisory or guidance materials or communications by the Defendants
related to the provision of health care to inmates, including the means oi`evaluating or assessing
inmates t`or health problems; the treatment oi` inmates in need ot` medical observation, observation
care, or observation bed.s; thc provision of prescription drug medication to inmates; provision oi"
dental care; procedures i`or chronic or acute care, including hospitalization and at`ter~hours care;
conducting laboratory tests and processing and reporting results; determination of which
prescription medication will be prescribed to inmates; the movement of inmates from observation
to a community hospital or other off-site medical services provider; and any emergency transfer
plans at RCD(_` lll from 2007 to the present. The Request also includes a copy oi`the Po|icy and
l’rocedure (or Practice) l\/lanual, 'l"reatment or Patient Care Protocols` Standard Operating
Procedures atid BOP C`|inical Practice Ciuidelines related to health care provision at RCDC lll.

Third Supplementa| Response: 'l`hese defendants are producing additional responsive
documents

Any and all repoits, summaries, or other compilations ofdata regarding the number of inmates
who received medical services oi`l`site at a community hospital or other medical services provider
i`rom 2007 to the present.

'l`hird Supp|emental Response: Additional responsive documents are being produced

Doeuments reilecting the stal`fing for the provision ofmedical care at RCDC lll from December
20 2007. to December 22. 2008. including any duty assignment rosters. nurse on duty rosters,
daily duty i'Osters, shift counts, post orders, logs, medical care stal`i` work schedules. time records,
and stai`i`ing records showing correctional and health care providers assignments, overtime, and
vacanciesl

'l`hird Supplemcntal Response: These defendants are producing copies ol" work
schedules that have been located to datc.

Documents stating, describing, or evidencing the number and type of correctional officer and
medical provider positions allotted For and actually filled in RCDC lll i`rom 2007 to the present,
including any stafl`ing plans and any documents reflecting the number of person-hours (or similar
inetrics) worked by correctional ol`i`icer and medical care providers.

Tliird Supplemental Response; See documents produced in response and supplemental
response to request 49,

Documents relating to revie\vs, audits, examinations1 inspections, or evaluations conducted by the
Depanment ofJustice, the Dcpartinent ofHomeland Security, the Ofl`ice ot`the inspector Genera|,
or any other governmental entity, including regulatory agencies. or by independent monitoring or
evaluating entities. including JCAHO, the Commission ofAccreditation for Corrections, or any
other nongovernmental entity. This Request includes findings, i‘epoits, memos, correspondence

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audits surveys working papers, meeting minutes, and other documents generated by the entity
conducting the inspection as well as responses regarding the findings

 

Third Siipplcmcntal Response: These defendants are producing documents received
from the 'i`e~uis Department of State llealth Services
regarding infectious disease intervention and control,
with identifying information for initiates (other than
Jesus Galindo) redacted

/\iiy and all documents relating to i'eports, audits, assessments reviews, examinations
inspections or evaluations prepared by or for Reeves County, GEO, or PNA regarding the
provision of medical care, stal`i`ing, pharmacy services or segregated housing units at RCDC lll`
including the composition and title ol` the auditing team, their working papers, and meetings
minutes

Third Supp|cmental Response; These defendants are withholding internal chan audit
and review documents including QCP work pages
monthly quality improvement physician clinical chart
reviews and QCP audits, which are proprietary and
privileged as related to quality improvement/control
and/or peer review, and contain identifying information
about inmates other than Jesus Galindo, the production
of which have not been authorized by or on behalfof any
such inmates

Any and all doeu=‘:ient,s related to or otherwise indicating remedial or corrective actions requested
oi required by l{eeves County of(.,iEO or PNA, including warniiigs, notifications, or other
communication from Reeves County or its agents advising of unsatisfactory conditions or non-
compliance services, materials related to procedures for requiring remedial steps, plans of action`
and any response, investigation or conclusion from Reeves County following such actions

Third Supplemciital Response: 'l`hese defendants are producing documents regarding
safety and sanitation monthly inspections

A|l minutes of meetings of RCDC lll medical care providers, and any other meetings at which the
medical status ofinmates is discussed, including medical staff meetings, housing unit meetings,
infirmary staff meetings and \vardens' or deputy wardens' meetings, and meetings of any group`
committee or other body that detentiines whether or when a RCDC lll inmate will receive out-
oi`-instittition medical care or consultation or treatment from 2007 to the present,

Third Supp|emental Response: 'I`hese defendants are additionally withholding minutes
ofmeetings related to quality control and infection
control dated January 7., 2003` April 9. 2008, Ju ly 9,
2008.y July l0, 2008, July 21. 2008. October 2, 2008 and
December 3` 2008, in keeping with previously submitted
objections and supplemental objections See response
and all supplemental responses to request 58.

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65. Any and all documents describing quality measurement systems i`or health care services and
clinical care quality and performance improvement programs used by any Defendant

Third Su|)p|ementa| Response:

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'l`hese defendants are producing responsive documents
regarding quality goals and objectives These
defendants are withholding internal and QCP audit
documents pursuant to previously submitted objections
and supplemental objections; such documents as
proprietary and inextricably intertwined with quality
assurance and peer review and the deliberative process

GR/\Cll?.l..f\ GAL|NDO. el nl. ,

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lti§'il`iVES C(')UNTY. 'i'|£`X/\S, el a/..

S'l`/\TE Oi" TF,XAS

COUNTY (`)l~` LUBBOCK

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WlSSTERN DlSTRlC`l` Ol" "l`l?lXAS
EL i’ASO Dl\/lSlON

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P|aintifl`$.
No. l'ii’-l 0»CA~454~lJB-NJG

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Dcl`cjndants.

AFF!`DAV!'\` OF VERNON `FARTHING, lll

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B[~Il"ORli M!l€. thc undersigned autl\ority. on this day personally appener Vcrnon

l*'zmhing, lll. wlio` being by inc duly sworn, deposed as t`ollot\'s:

My name is Vernon l¢nrtliing, lll. l am over the age ol` eighteen ycars, and am
competent to make this a?flidavit. 'l`lte factual statements contained heroin arc
within my personal knowledgc. truc and correct

Prior to December 2()10. l Scrvcd as president ol` Pltysicians thworl< Association
("¥’NA"`). a professional corporation that provided health care personnel and
Scrvices to inmates in various prison l`acilitics. ln December ZOlt). l’hysicians
thwork Association merged with Corrc:ctional l'lealtli Companies, and l am now
n vice president with that cntity.

l"N/\ compiles internal data regarding o`ti"~site medical care l'or initiates at various
facilities. including keech County Detct\tion Center ("'RCDC"). Thesc
documents would reflect industry contacts, specifically with doctors who arc
willing to see inmates as'.paticnts. developed through years of experience and
‘l'ostered goddwill. 'l`hcsc documents would reflect financial agreements made by
]"NA and the doctors within its network. “l`his information is not broadcast
outside ot` l’N/\ and is considered to be a trade secret l"urtltcr. the network ol`
doctors, together with the linnncial agreements. would be known by a limited

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§ d

 

number of individuals within PNA such as the vice president and site
administrator ‘l"his information would carry immeasurablc value and provide nn
unwanted benefit to competitors as to the identity of doctors who arc willing to
treat initiates and thc terms under which they do so for PNA. i’NA's competitors
could foreseeably gain a marked advantage from access to such otherwise private
int‘onnntioni

§

t

PNA has invoices related to services provided at RCDC that may include records
showing a i'i:duction or withholding of payment for failure to perform a scrvicc.
Thcsc documents will reveal thc type of service PNA is able to provide and tit
what rnte. l`liis information would bc valuable to competitors who could utilize it
to oti`cr competitive rates and undercut PNA. Furthcr, an audit conducted by thc
Bureau of Prisons,' which may result in a dcduction, would disclose essential
information about thc iniicr practices and workings of PNA. lt takes six months
of lubor with thirty full-time employees to prepare for nn ttudit. C)nly employees
at thc le;`() and lixccutivc Vicc I’rcsidcnt lcvcl handle thc information regarding
dcductions.' li` competitors were aware ot` thc practices ot' PNA they would bc
able to utilize them unfairly in their own proposals endangering thc prospects for
l’NA to rctn`in or obtain t`utther contracts Morcovcr, documents with information
regarding those audits contain internal communications that reflect quality
controls thtit have been tttkcn or may be takcn. Disc|osurc of these documents
would hamper coininiinicittion and thus thc implementation of such corrective
actions, bcdause of the concerns that such documents would bc utilized during
civil litigation Furthcrinorc, those audits contain thc identifying BOP inmate
numbers and reveal private medical information ofinmatcs` including ifthcy have
l~ll'\/'S/All)$. vcncrcnl diseases and diabetes Thesc audits rclicct highly private
information to thc initiates for which PNA has not received authorimtion for
disclosure from said initiates or their families

l"ollowing thc death of hir. (}a|indo. PNA prepared ii Root Causc Anniysis. which
includes a tiinclinc and a Twcnty~f~our l-iour Mortztlity Rcvicw_ which was
generated exclusively for committee member zind facility member cvaluation as
measures ol`pccr review and quality controlt Tlic Committcc consists of fivc
licensed medical professionals formed l`or thc purpose ofimproving thc quality of
initiate licalihcurc and proposes corrective action, if necessary Thc Connnittcc
expects thci documents`and conversations to be privileged and confidential in
order to bc able to critiqi.i`c aggressively and with complete cuiidor. Committcc
members will bc disinclined to speak honcstly and plainly if documcnts
generated during thc poor review process can bc discovered and publici'/.cd
during n civil uction. 'l`hc effectiveness of thc Committcc would bc hampered
because thc committee members will be reluctant to provide n coinplctc` honest
evaluation and analysis during thc review process

l’N/\ has expended many hours and resources searching for logs and reports on
stafi`iitg, und any material related to Mr. Galindo and his dcnth, as requested in
discovery l"i\l/\ has advised both its l~luman Rcsourcc L)cpartmcnt and l‘~`inancc

Department to locate the requested information 'l'he l)enver officer ran a
search in the robutic tile storage area for such documents lvloreovcr, the
individual health administrator at RCDC went into the storage room
looking for material related to ivir. Cialindo and the logs i`roni the relevant time
frame 'l`he health administrator did this manually by sorting through boxes
ofl`iles. l)ozens ofhours were expended in this effort

Furthennorc, there may be other records that i’NA has been unable to produce to
date due to thousands ot` documents being destroyed during the riots at RCDC in
lanuary 2009. l`)uringtheriots. inmates of RCDC gained access to and control
ofthe medical infirmary Tlte initiates then gained access to medical records
reports. internal memoranduni, logs. schedules and notes being contained in a
i"treprool` safe and in the control room. "iiie inmates set tire to and del`ecated on
the documer_,itsl ’i`hese documents were not salvageable. "l`hcrc are no duplicates
ol`thc documents that were destroyed

With respect to documentation of medical grievances requested in discovery
licrcin. it would be unduly burdensome for l’NA to locate information as to tiny
medical grievances for inmates other than lvir. Gaiindo, Any such grievance
would be filed within each inmate's medical rccord. i’l\lA employees would have
to search through each medical record ofall inmates individually to determine ita
grievance was made. 'i"his would lequire sitting through thousands oi,` liles during
the relevant period. which could involve expenditure of countless hours and

resources l`or its limited stal`i‘.
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iiurther deponent sayeth not.

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certify which witness my hand and seal ol`oft`ice.
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